Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 1 of 211 PageID #:
                                    13189


                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK

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 CLAUDIA DESILVA, GREGG LAMBDIN,                              :
 KELLY IWASIUK, EILEEN BATES-BORDIES,                         : Case No. 10-cv-1341 (PKC)(WDW)
 MARGARET HALL, AND BRENDA GAINES,                            :
 on behalf of themselves and all other employees              :
 similarly situated,                                          :
                                                              :
                            Plaintiffs,                       :
                                                              :
                   -against-                                  :
                                                              :
 NORTH SHORE-LONG ISLAND JEWISH                               :          DECLARATION OF
 HEALTH SYSTEM INC., NORTH SHORE-LONG:                               JOSEPH A. KROCK, PH.D.
 ISLAND JEWISH HEALTH CARE, INC.,                             :
 PENINSULA HOSPITAL CENTER, FOREST                            :
 HILLS HOSPITAL, FRANKLIN HOSPITAL,                           :
 GLEN COVE HOSPITAL, HUNTINGTON                               :
 HOSPITAL ASSOCIATION, LONG ISLAND                            :
 JEWISH MEDICAL CENTER, LONG ISLAND :
 JEWISH HOSPITAL, ZUCKER HILLSIDE                             :
 HOSPITAL, NORTH SHORE UNIVERSITY                             :
 HOSPITAL, PLAINVIEW HOSPITAL,                                :
 SCHNEIDER CHILDREN’S HOSPITAL,                               :
 SOUTHSIDE HOSPITAL, STATEN ISLAND                            :
 UNIVERSITY HOSPITAL, SYOSSET                                 :
 HOSPITAL, MICHAEL J. DOWLING, JOSEPH :
 CABRAL, AND NORTH SHORE-LONG ISLAND :
 JEWISH HEALTH SYSTEM 403B PLAN,                              :
                                                              :
                            Defendants.                       :
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Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 2 of 211 PageID #:
                                    13190


 I, Joseph A. Krock, Ph.D., declare as follows:

        1.        I have personal knowledge of the facts set forth herein, and if called as a witness,

 could and would testify competently thereto.

        2.        I make this Declaration in response to Sarah E. Cressman’s (herein, “Cressman”)

 Affirmation in Claudia DeSilva, et al. v. North Shore–Long Island Jewish Health System Inc., et

 al. and in support of Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for Rule 23

 Certification.

        3.        I also have been asked by Counsel for Defendants to provide an opinion whether

 liability and damages for the Rule 23 Class could be determined on a class wide basis using a

 random sample survey, representative testimony, or any other means other than individual

 inquiry of all class members. Additionally, Counsel for Defendants has asked me to calculate the

 amount of overtime paid to the various potential sub-class pools (as defined below in Section IV)

 during the relevant time period for Rule 23, March 21, 2004 through the present (“Relevant Time

 Period”).

        4.        In addition to the materials I reviewed listed in Exhibit 2 to my prior declaration, I

 have attached a list of additional Materials Reviewed as Exhibit 1 to this Declaration.

 I.     CRESSMAN ATTEMPTS TO ANALYZE A NON-RANDOM, NON-
        REPRESENTATIVE SAMPLE

        5.        As discussed below, the Cressman Affirmation purports to provide an analysis of

 certain electronic and other data. I have reviewed and analyzed the Cressman Affirmation and

 the data sets Cressman attempts to analyze therein, including 2 data sets which contain electronic

 timekeeping records. One data set, referred to as the “Kronos data,” contains Time Detail

 Reports for 345 Opt-In Plaintiffs, of which Cressman attempts to analyze the Time Detail

 Reports for 334 Opt-In Plaintiffs. A second data set is referred to as the “non-Kronos data,”



                                                  –1–
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 3 of 211 PageID #:
                                    13191


 which I have identified as electronic records from the ANSOS system. Cressman attempts to

 analyze the non-KRONOS data for 182 Opt-In Plaintiffs.

        6.      In total, these data sets contain records for 450 unique Opt-In Plaintiffs ; 60 Opt-

 In Plaintiffs are present in both KRONOS and Non-KRONOS data.

        7.      These individuals are not a random or representative sample and are a small

 fraction of the 32,256 current or former employees who may fall into the Possible Rule 23 Class

 Pool (as defined below in Section IV). I am informed that 17,776 current and former employees

 who were in direct patient care related positions were sent notice of the FLSA Collective Action

 (“Noticed Individuals”). Of those 17,776, only 1,149 filed Consents to Join the collective action.

 Of those 1,051, only 599 may fall into one or both of the potential sub-class pools (defined

 below in Section IV). Collectively, the 599 Opt-In Plaintiffs who may fall into either or both of

 the KRONOS and non-KRONOS potential sub-class pools (defined below in Section IV) data

 represent 1.9 percent of the Possible Rule 23 Class Pool and 3.4 percent of the Noticed

 Individuals. These Opt-In Plaintiffs self-selected into this action and are therefore not a random

 or representative sample. The Cressman Affirmation also purports to analyze certain

 interrogatory responses of 35 responding Opt-In Plaintiffs. These 35 Opt-In Plaintiffs are not a

 random or representative sample, and represent only about 0.1 percent of the Possible Rule 23

 Class Pool (as defined below in Section IV) and 0.2 percent of the noticed individuals. These 35

 responding Opt-In Plaintiffs not only self-selected into this action but also self-selected to

 respond to interrogatories (whereas other Opt-In Plaintiffs chose not to) and are therefore not a

 random or representative sample.

        8.      Inferences about the remaining Possible Rule 23 Class Pool cannot be reached

 using a non-random, non-representative sample.




                                               –2–
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 4 of 211 PageID #:
                                    13192


 II.        I AM UNABLE TO REPLICATE CRESSMAN’S DATA OR ANALYSIS USING
            GENERALLY ACCEPTED STATISTICAL METHODS

       A.         General Data Management and Analysis Standards

            9.       In my training as an economist and in my over 20 year career as a researcher and

 consultant, I have learned best practices for general data management and analysis with the

 purpose of providing replicable analyses to other members of my field.

            10.      When I receive data in its native format (i.e., paper records, electronic data such

 as comma separated text files or Microsoft Excel workbooks, or Adobe Portable Document

 Format (“PDF”) files), I initiate a conversion process as necessary using manual entry, Optical

 Character Recognition (“OCR”) scanning, or a software conversion. After any conversion to a

 more user-friendly format, it is essential to review the resultant data for inconsistencies between

 it and the source.

            11.      I then prepare the database for analysis by reading-in1 the data to a computer

 database management program. I use a program called SAS, and according to the Cressman

 affirmation, she uses STATA.2 Both programs are similar in purpose and functionality, and, if

 properly used, both should yield the same electronic database after reading-in the data.

            12.      Once my SAS database is established, I perform an additional review to check for

 consistency between the original data in its native format and the SAS database. This review

 includes random spot checks and the identification and review of potential outliers or anomalous

 data points.

            13.      Analysis should not begin until the database is confirmed to be reliable, i.e., the

 contents of the database accurately represent the information contained in the source file. Any


 1
   “Reading-in” is a term used to describe converting electronic information maintained in a non-database format into
 a database so that the information can be organized and analyzed.
 2
   Affirmation of Sarah E. Cressman, Aug. 2, 2013, ¶61.


                                                        –3–
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 5 of 211 PageID #:
                                    13193


 analysis based on unreliable data is invalid. Further, others will not be able to replicate results

 from unreliable data or will reach spurious conclusions.

          14.      As discussed below, if Cressman is accurately reporting her analyses of her data

 set, it appears that Cressman made errors in her conversion and read-in of the KRONOS Time

 Detail Reports which invalidate any of her KRONOS-based conclusions. While I am certain she

 made read-in and/or conversion errors at various points, I cannot recreate exactly what she did or

 where she made the errors. Additionally, the analyses she presents are fundamentally flawed (in

 addition to the data errors) and lead to specious conclusions. Furthermore, she makes additional

 errors in the interpretation and analysis of the non-KRONOS data which also invalidate her non-

 KRONOS conclusions.

     B.         Cressman’s KRONOS Data Errors

                Cressman states: “Based on the information determined through Stata, the total
                number of meal break-eligible shifts from these Kronos records was 62,625.”3
          15.      The “KRONOS records” to which Cressman refers are the KRONOS Time Detail

 Reports for 337 Named and Opt-In Plaintiffs (“Opt-In Plaintiffs”).4 Cressman’s data set appears

 to have been created incorrectly, and my read-in and conversion process indicates that

 Cressman’s data set is unreliable. I have reviewed the tables presented by Cressman and the

 KRONOS Time Detail Report, and I cannot determine how she arrives at the total number of

 “meal break-eligible” shifts she finds from the KRONOS Time Detail Reports of 334 Opt-In

 Plaintiffs.

 3
   Ibid, ¶62.
 4
   As Cressman notes in her Affirmation in footnote 3, KRONOS Time Detail Reports were produced for 345 Opt-In
 Plaintiffs who had records in KRONOS, eight of whom subsequently withdrew their consent leaving 337 Opt-In
 Plaintiffs with KRONOS Time Detail Reports. Cressman then excludes three Opt-In Plaintiffs who she believes
 have no work time entries in the KRONOS Time Detail Reports, leaving her with 334 Opt-In Plaintiffs to analyze.
 Unlike Cressman, I did not exclude any of these 337 Opt-In Plaintiffs for lack of apparent hours worked. As will be
 explained below, I merely attributed 0 “meal break-eligible” shifts to the one employee with no hours worked in
 KRONOS. As shown below in paragraphs 19.2.5 and 19.2.6, the other two Opt-In Plaintiffs Cressman excluded for
 lack of hours worked should not have been excluded.


                                                       –4–
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 6 of 211 PageID #:
                                    13194


         16.      Cressman received the same KRONOS Time Detail Reports that I received for the

 337 Opt-In Plaintiffs. Cressman states that she was able to identify 62,625 “meal break-eligible”

 shifts in the KRONOS Time Detail Reports for 334 of the 337 Opt-In Plaintiffs who have

 KRONOS Time Detail Reports. As further discussed below, using techniques I have frequently

 used in my over 20 year career of extracting, managing and analyzing data, I am only able to find

 a total of 45,937 “meal break-eligible” shifts for these 337 Opt-In Plaintiffs with KRONOS Time

 Detail Reports, a discrepancy of approximately 36 percent. Further, I am unable to identify

 exactly how and where Cressman erred in importing the data. None of the following issues, nor

 any combination of the following issues, fully explains the discrepancy.

         17.      Cressman defines a “meal break-eligible” shift as, “any shift which is equal to or

 greater than six (6) hours.”5 From the native PDF KRONOS Time Detail Report also used by

 Cressman,6 I imported 66,973 “Time Detail Entries” for the 337 Opt-In Plaintiffs.7 Many of

 these Time Detail Entries indicate that no work was performed by the particular Opt-In Plaintiff

 on that day but the Opt-In Plaintiff was paid some form of wages for that day, i.e., a paid

 holiday, a vacation or sick day, etc. I therefore removed the 17,205 non-work, benefit, and

 special item Time Detail Entries for the 337 Opt-In Plaintiffs from the database, leaving 49,768

 Time Detail Entries for the 337 Opt-In Plaintiffs which could possibly be, as Cressman states,

 “meal break-eligible” shifts. It does not appear that Cressman’s sole error is incorrectly including

 non-work, benefit, and special item Time Detail Entries in her analysis, although it may

 contribute to her overstatement of “meal break-eligible” shifts for the 334 Opt-In Plaintiffs.


 5
   Ibid, ¶59.
 6
   Ibid, ¶61.
 7
   I have defined a “Time Detail Entry” for these purposes as an individual entry in the KRONOS Time Detail
 Report, which could include a pair of punch times (in & out – assumed to be work time), a line item indicating work
 performed without times punched in time and out (Overtime, Regular, etc.), a line entry indicating non-work time
 paid (Vacation, Sick, etc.), or special items (In Charge Time, Preceptor Time – these typically indicate time for
 which incremental premium pay is appropriate).


                                                       –5–
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 7 of 211 PageID #:
                                    13195


          18.      According to the KRONOS Time Detail Report, some of the 337 Opt-In Plaintiffs

 show more than one work-related Time Detail Entry recorded for some days.8 To accurately

 determine the total amount of work time recorded for each day, I combined multiple work-

 related Time Detail Entries on the same day. After combining multiple work-related Time Detail

 Entries, the database contained 47,911 shifts where work was performed. I then filtered out 1,974

 work shifts that were shorter than six total hours, leaving 45,937 “meal break-eligible” shifts.

 Looking at the different categories of Time Detail Entries I excluded from the original 66,973

 imported Time Detail Entries, I cannot identify any one error or a combination of errors that

 would cause Cressman to arrive at her 62,625 “meal break-eligible” shifts figure for the 337 Opt-

 In Plaintiffs, when the actual number is 45,937.9

          19.      Cressman lists her calculated totals of “meal break-eligible” shifts for 334

 individual Opt-In Plaintiffs in column “sum_meals” in her Exhibit HH. A comparison of

 Cressman’s individual values to the number of shifts I calculate shows that of the 334 Opt-In

 Plaintiffs Cressman listed in Exhibit HH, she overstates the number of “meal break-eligible”

 shifts for 305 individuals, includes two individuals who never work any shifts of six hours or

 more, understates the number of “meal break-eligible” shifts for 21 individuals, and incorrectly

 excludes two individuals who did work at least one shift of six hours or more. I was able to

 match the shift count for only six of the 334 Opt-In Plaintiffs listed in Cressman’s Exhibit HH. I


 8
   This situation occurs for 1,847 Time Detail Entries on 861 different days in the KRONOS Time Detail Reports.
 These multiple work-related Time Detail Entries on the same day can be continuations of prior shifts, the second
 shift in a double-shift day, “smoothed” pay, or the inclusion of time outside of the punch times. Overnight shifts do
 not fall into this category.
 9
   Cressman states in paragraph 57 of her Affirmation that she received payroll data, “with a date range spanning
 from June 2004 to January 2013.” She then states in paragraph 58 of her Affirmation, “For these dates, the Kronos
 Records were analyzed to determine…” It is unclear whether she limited the time frame of her analysis of the
 KRONOS Time Detail Report data in any way. It is unlikely that this restriction is the source of the discrepancy
 between our numbers, as the discrepancy is larger if I restrict my analysis to the period of time ending January 19,
 2013 (the final week-ending in the payroll data). The total number of “meal break-eligible” shifts for this restricted
 period is 40,104.


                                                         –6–
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 8 of 211 PageID #:
                                    13196


 have chosen several examples of individuals listed below to show examples where Cressman errs

 in her interpretation of the KRONOS Time Detail Reports.

                   19.1.    Opt-In Plaintiffs with Overstated “Meal Break-Eligible” Shifts –

           More “Meal Break-Eligible” Shifts Than Shifts and Days in a Time Period or No

           Days Worked Indicated

                            19.1.1. As discussed above, Cressman overstates the number of “meal

                   break-eligible” shifts for 305 of the 334 Opt-In Plaintiffs in her Exhibit HH. Of

                   these 305, 279 have more “meal break-eligible” shifts according to Cressman than

                   days worked. Of these 279, 13 have more “meal break-eligible” shifts according

                   to Cressman than there are total calendar days in the time period listed in columns

                   “start_date” and “end_date” in her Exhibit HH. Additionally, Cressman includes

                   two individuals for whom the Time Detail Report indicates zero “meal break-

                   eligible” shifts. A few examples follow.

                            19.1.2. Cressman states that Sekia Bradwell (Emp. ID 104139) 10 worked

                   588 “meal break-eligible” shifts from September 6, 2010 through November 30,

                   2011. A simple check of the number of calendar days between September 6, 2010

                   and November 30, 2011 shows that there are only 450 calendar days in that time

                   period. A manual count of the records shows that she worked no more than 256

                   shifts longer than six hours. She also recorded 105 other shifts, for a total of 361


 10
   As examples of the errors made in the conversion and/or read-in and/or analysis of the KRONOS Time Detail
 Reports, I have attached Exhibits 2 A-I which provide detailed descriptions of what the actual KRONOS Time
 Detail Reports shows and why the numbers given by Cressman are wrong. Each exhibit includes all of the
 KRONOS Time Detail Reports in their native format and a table which summarizes the type of shifts identified in
 the KRONOS Time Detail Reports. These counts were created by hand but corroborate the findings I made using
 my computer program. The categories found in the table include: Benefit Shifts – vacation, sick, or other non-work
 shifts; ”Meal Break-Eligible” Shifts – entries which indicate regular or overtime shifts greater than six hours; ”Non-
 Meal Break-Eligible” Shifts – entries which indicate regular or overtime shifts less than six hours; and Plus 1 –
 shifts which occur on days that already indicate a work shift of greater than 6 hours.


                                                         –7–
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 9 of 211 PageID #:
                                    13197


             shifts. Cressman overstates her number of “meal break-eligible” shifts by 129

             percent. Exhibit 2-A contains a summary of Ms. Bradwell’s KRONOS Time

             Detail Report, as well as the actual KRONOS Time Detail Report.

                    19.1.3. Cressman states that Anna Balcer (Emp. ID: 143535) worked 821

             “meal break-eligible” shifts from January 17, 2011 through February 7, 2013, a

             span of 752 days. However, a manual count of the KRONOS Time Detail Report

             finds 448 “meal break-eligible” shifts, meaning that Cressman overstated Ms.

             Balcer’s “meal break-eligible” shifts by 83 percent. Exhibit 2-B contains the

             summary and original KRONOS Time Detail Report for Ms. Balcer.

                    19.1.4. Cressman states that Crystal Mingo (Emp. ID: 146713) worked

             698 “meal break-eligible” shifts from April 11, 2011 through February 6, 2013, a

             span of 667 days. A manual count of the KRONOS Time Detail Report results in

             369 “meal break-eligible” shifts, meaning that Cressman overstated Ms. Mingo’s

             “meal break-eligible” shifts by 89 percent. Exhibit 2-C contains the summary and

             original KRONOS Time Detail Report for Ms. Mingo.

                    19.1.5. Cressman states that Magdalena Pupiales (Emp. ID: 150746)

             worked 718 “meal break-eligible” shifts from October 3, 2011 through February

             7, 2013, a span of 493 days. A manual count of the KRONOS Time Detail Report

             results in 306 “meal break-eligible” shifts, meaning that Cressman overstated Ms.

             Pupiales’ “meal break-eligible” shifts by 135 percent. Exhibit 2-D contains the

             summary and original KRONOS Time Detail Report for Ms. Pupiales.

                    19.1.6. Cressman states that Christopher Sorrentino (Emp. ID: 155013)

             worked 700 “meal break-eligible” shifts from September 12, 2011 through July




                                           –8–
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 10 of 211 PageID #:
                                     13198


             11, 2013, a span of 668 days. A manual count of the KRONOS Time Detail

             Report results in 424 “meal break-eligible” shifts, meaning that Cressman

             overstated Mr. Sorrentino’s “meal break-eligible” shifts by 65 percent. Exhibit 2-

             E contains the summary and original KRONOS Time Detail Report for Mr.

             Sorrentino.

                    19.1.7. Cressman states Catherine McLoughlin (Emp. ID: 103086) worked

             587 “meal break-eligible” shifts. A manual count finds 368 “meal break-eligible”

             shifts, meaning that Cressman overstated the number of “meal break-eligible”

             shifts” by 60 percent. Exhibit 2-F contains the summary and original KRONOS

             Time Detail Report for Ms. McLoughlin.

                    19.1.8. Cressman states Eileen Abramowitz (Emp. ID: 140975) worked

             228 “meal break-eligible” shifts. A manual count finds 78 “meal break-eligible”

             shifts, meaning that Cressman overstated the number of “meal break-eligible”

             shifts by over 192 percent. Exhibit 2-G contains the summary and original

             KRONOS Time Detail Report for Ms. Abramowitz.

                    19.1.9. Cressman states Naveed Khan (Emp. ID: 151444) worked 273

             “meal break-eligible” shifts. A manual count finds 129 “meal break-eligible”

             shifts, meaning that Cressman overstated the number of “meal break-eligible”

             shifts by 112 percent. Exhibit 2-H contains the summary and original KRONOS

             Time Detail Report for Mr. Khan.

                    19.1.10.       Cressman states that Jacqueline Rivera (Emp. ID: 135724)

             worked six “meal break-eligible” shifts. A review of her Time Detail records

             shows that she never recorded a shift of six hours or more. Ms. Rivera should




                                            –9–
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 11 of 211 PageID #:
                                     13199


             have been excluded from the analysis. Exhibit 2-I contains the summary and

             original KRONOS Time Detail Report for Ms. Rivera.

             19.2.   Opt-In Plaintiffs with Understated “Meal Break-Eligible” Shifts or

        Who Were Incorrectly Excluded from Cressman’s Analysis

                     19.2.1. As noted above, Cressman understates the number of “meal break-

             eligible” shifts for 21 of the 334 Opt-In Plaintiffs in her Exhibit HH. Cressman

             also excluded some Opt-In Plaintiffs for whom the Time Detail Report indicates

             that “meal break-eligible” shifts were worked. Some examples follow.

                     19.2.2. Cressman states Virginia Labusohr (Emp. ID: 134320) worked 113

             “meal break-eligible” shifts. A manual count results in 151 “meal break-eligible”

             shifts, meaning that Cressman understated the number of “meal break-eligible”

             shifts by 25 percent. Exhibit 3-A contains the summary and original KRONOS

             Time Detail Report for Ms. Labusohr.

                     19.2.3. Cressman states Beth LoMeli (Emp. ID: 135210) worked 89 “meal

             break-eligible” shifts. A manual count results in 134 “meal break-eligible” shifts,

             meaning that Cressman understated the number of “meal break-eligible” shifts by

             34 percent. Exhibit 3-B contains the summary and original KRONOS Time Detail

             Report for Ms. LoMeli.

                     19.2.4. Cressman states Linda Weih (Emp. ID: 135942) worked 139 “meal

             break-eligible” shifts. A manual count results in 150 “meal break-eligible” shifts,

             meaning that Cressman understated the number of “meal break-eligible” shifts by

             7 percent. Exhibit 3-C contains the summary and original KRONOS Time Detail

             Report for Ms. Weih.




                                           – 10 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 12 of 211 PageID #:
                                     13200


                             19.2.5. My review of the KRONOS Time Detail Report indicates that

                     Kathleen Tocco (Emp. ID: 116274) worked a total of 107 “meal break-eligible”

                     shifts. Cressman excludes her for having “a few rows of punch data that contains

                     vacation, holiday or sick hours, rather than hours worked.”11 Ms. Tocco should

                     not have been excluded from the Cressman analysis. Exhibit 3-D contains the

                     summary and original KRONOS Time Detail Report for Ms. Tocco.

                             19.2.6. My review of the KRONOS Time Detail Report for Margaret

                     Whelan (Emp. ID: 140746) shows that she worked 6 shifts with a length of 6

                     hours or more. She should not have been excluded from the Cressman analysis.

                     Exhibit 3-E contains the summary and original KRONOS Time Detail Report for

                     Ms. Whelan.

            20.      Despite considerable effort, I was unable to replicate the numbers provided in

 Cressman’s Exhibit HH or reconcile them to the numbers I calculated using the same KRONOS

 Time Detail Reports for 337 Opt-In Plaintiffs that were provided to Cressman. Cressman’s errors

 in the conversion and read-in of the KRONOS Time Detail Reports invalidate any analyses and

 conclusions that use that data. There is simply no way to account for and correct the errors made

 in order to complete the analysis. The Cressman Affirmation overstates the number of “meal

 break-eligible” shifts by more than 36 percent. An error rate that large is completely

 unacceptable in any analytical context, and such a large error rate leads to additional doubt

 regarding her accompanying analyses and conclusions.




 11
      Affirmation of Sarah E. Cressman, Footnote 3.


                                                      – 11 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 13 of 211 PageID #:
                                     13201


      C.         Cressman’s KRONOS Analysis Is Incomplete and Incorrect

                 Cressman states: “That is, for the 62,625 meal break-eligible shifts the 334 employees
                 worked, 2.1% of the automatic meal break deductions were cancelled.”12
           21.      In addition to the errors in the conversion and read-in of the KRONOS Time

 Detail Reports, Cressman also makes fundamental errors in her analyses. The conclusions she

 reached (even if one were to correct the flawed numbers upon which she relied) are incomplete

 and incorrect.

           22.      There are three fundamental problems with Cressman’s analysis of the KRONOS

 Time Detail Report data: (1) her stated average “cancelled deduct rate” of 2.1 percent is not

 based on reliable data as discussed above in Section I.B.; (2) her stated average of 2.1 percent is

 under-inclusive as to compensated meal periods; and (3) even if it were a correct “average” for

 the 337 Opt-In Plaintiffs, it cannot be applied to a Possible Rule 23 Class Pool (as defined below

 in Section IV) of 32,256 individuals, because it is not a random or representative sample and,

 based on her limited analysis, there are wide variances amongst different locations.

                    22.1.   As discussed above, Cressman made errors in the conversion and read-in

           of the KRONOS Time Detail Reports such that the data is unreliable and any analysis

           based on that data is suspect.

                    22.2.   Cressman also failed to account for all possible means of compensating

           for a missed or interrupted meal period. There are different mechanisms which managers

           could use to ensure compensation for an employee for time worked during a meal break

           other than inserting a “Cancel Deduct”-type code into a legacy or electronic timekeeping

           system.13 Some managers added time without designating a no meal or cancel deduct

 12
   Ibid ¶63.
 13
   Declaration of Joseph A. Krock, Aug. 2, 2013, ¶¶43, 48, 58.7. Declaration of Andrew Goldberg, Sept. 20, 2010, ¶
 23; Declaration of Anne Barrett, Sept. 20, 2010, ¶ 14; Declaration of Maxine Cenac, Sept. 20, 2010, ¶ 10;
 Declaration of Mary Beth Springstead, Sept. 17, 2010, ¶ 24; Declaration of Jon Sendach, Sept. 20, 2010, ¶ 8;


                                                      – 12 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 14 of 211 PageID #:
                                     13202


          code or they provided compensatory time off at other times in the work week.14 These

          methods were not accounted for in the data or analysis Cressman offered. She concludes

          that only 2.1 percent of the “meal break-eligible” shifts for the 334 Opt-In Plaintiffs with

          KRONOS Time Detail Reports were compensated when one of these 334 Opt-In

          Plaintiffs worked through a meal period, and that conclusion therefore underreports

          those occurrences and compensation for those meal periods.

                  22.3.    The 337 Opt-In Plaintiffs included in the KRONOS Time Detail Reports

          are not a randomly selected sample of the 32,256 individuals in the Possible Rule 23

          Class Pool (as defined in Section IV); the 337 Opt-In Plaintiffs with KRONOS Time

          Detail Reports at most represent approximately one percent (337/32,256) of the Possible

          Rule 23 Class Pool (as defined in Section IV). Further, the Opt-In Plaintiffs are not a

          random or representative sample; they elected to be part of the lawsuit. As discussed in

          my prior declaration, the number of total Opt-In Plaintiffs with or without KRONOS

          Time Detail Reports only represents at most six percent of those who were sent notice.15

          There is no basis to believe that these individuals are in any way representative of the

          Possible Rule 23 Class Pool, and their alleged average “cancelled deduct rate” should

          not be applied to the entire possible putative class pool. Any calculations would only

          apply to those 337 Opt-In Plaintiffs with KRONOS Time Detail Reports.

         23.      The attempt at analysis of the KRONOS Time Detail Reports provided by

 Cressman demonstrates why any attempt to create a group-wide summary based on electronic

 time records will fail. Ignoring the data errors and analytical errors, Cressman’s Exhibit HH


 Declaration of Emily Kao, Sept. 20, 2010, ¶ 15; Declaration of Jon Sendach , Sept. 20, 2010, ¶ 14; Declaration of
 Thomas Salvo, Sept. 20, 2010, ¶ 19.
 14
    Ibid.
 15
    Declaration of Joseph A. Krock, ¶62.


                                                       – 13 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 15 of 211 PageID #:
                                     13203


 shows that there are differences in the way the KRONOS system is used by the 337 Opt-In

 Plaintiffs and that individual inquiry would be necessary to identify and evaluate any allegations

 of working through meal periods.

                  23.1.    The occurrence of the “CD” code in the KRONOS Time Detail Report for

          the 334 Opt-In Plaintiffs used by Cressman shows that in the Time Detail Report she

          relies upon, there is a clear difference in the way that the KRONOS system is used

          between locations. When the individuals’ results from her data are grouped by Work

          Location,16 the Opt-In Plaintiffs with KRONOS Time Detail Reports at the “155

          Community Drive” Work Location utilize the “CD” code on 94 percent of the “meal

          break-eligible” days.17 Whereas Opt-In Plaintiffs with KRONOS Time Detail Reports at

          other locations, such as “North Shore University Hospital” utilize the “CD” code far

          less. Thus, even if we accepted the flawed data and analysis, the Cressman Affirmation

          shows that different locations differ on how managers handled any time worked during

          meal breaks. Furthermore, as discussed in my prior declaration, the use of meal override

          codes varies not only by Work Location but also by person, across individuals, by

          Position, by Department, and by Business Unit.18

                  23.2.    Consequently, the 2.1 percent average for the 334 Opt-In Plaintiffs with

          KRONOS Time Detail Reports cannot be applied across different locations even within

          the same group of 334 Opt-In Plaintiffs. A simple application of her 2.1 percent to the

          “155 Community Drive” Work Location would greatly underestimate the rate of use of

          the “CD” code at that location. This highlights the broader fact that the differences


 16
    I.e., column “worklocations,” in Cressman Exhibit HH.
 17
    This percentage is calculated using my analysis. Even using Cressman’s flawed analysis, the percentage of
 “cancelled deductions” in total days is 86 percent for the Opt-In Plaintiffs at “155 Community Drive.”
 18
    Declaration of Joseph A. Krock, ¶¶ 58.3-58.6.


                                                       – 14 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 16 of 211 PageID #:
                                     13204


             among the locations (or individuals or Positions or Department or Business Unit) will

             complicate any class wide analysis which attempts to generate a “one-size fits all”

             conclusion.

             24.      Cressman’s overall conclusions regarding the KRONOS Time Detail Report are

 invalid. She relies on incorrect data, ignores additional sources of compensation for alleged work

 occurring during meal breaks, and ignores that these 334 Opt-In Plaintiffs are not a random or

 representative sample and that there is variation among locations.

        D.         Cressman’s Analysis of “Unapproved Hours” in Exhibit MM Is Likewise
                   Incomplete and Incorrect.

                   Cressman states: “[O]f the 337 employees, 240 (71%) have unapproved hours in the
                   Time Detail records. Of the 240 people with unapproved hours, 25 were excluded
                   from the analysis for one of three reasons: (1) the employee has no payroll records,
                   (2) the Time Detail time frame does not match the payroll records time frame, or (3)
                   there are insufficient records in the Time Detail. Of the remaining 215 people with
                   unapproved hours, 176 (approximately 82%) have unpaid work hours comparing the
                   Time Detail records to the payroll records.”19
             25.      Cressman does not explain how she went about the analysis used to arrive at her

 conclusion that “approximately 82%” of the 215 Opt-In Plaintiffs whose KRONOS Time Detail

 Reports reflect “Unapproved Hours” have unpaid unapproved work hours. Furthermore, I cannot

 replicate her 82 percent figure.

             26.      Cressman states that she compares payroll records to the KRONOS Time Detail

 Reports for 215 of the Opt-In Plaintiffs with KRONOS Time Detail Reports. It is unclear

 whether Cressman makes these comparisons on a pay-period by pay-period basis, on an

 aggregate basis, or on some other basis. It is not apparent how this comparison is made, but

 Cressman does state that some (at least 39 of her remaining 215, or 18 percent of the Opt-In

 Plaintiffs with KRONOS Time Detail Reports) who have “Unapproved Hours” are fully


 19
      Affirmation of Sarah E. Cressman, ¶62.


                                                    – 15 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 17 of 211 PageID #:
                                     13205


 compensated for those “Unapproved Hours.”20 She does not explain how she arrives at her

 number of Opt-In Plaintiffs with KRONOS Time Detail Reports with unpaid “Unapproved

 Hours,” and because of Cressman’s read-in errors I cannot replicate what she has done.

         27.      Three additional issues arise with Cressman’s analysis, which she does not

 address: 1) the KRONOS and payroll data files do not entirely overlap, 2) corrections can be

 made to the payroll outside of the KRONOS system which are not reflected in the “Unapproved

 Hours”21, and 3) it appears that the Time Detail Reports reflect incomplete data during the

 transition from a legacy system into KRONOS.

                  27.1.    The KRONOS Time Detail Reports for the 337 Opt-In Plaintiffs with

          KRONOS Time Detail Reports either span the period from approximately 2010

          (depending on when KRONOS was introduced to a location) through February 7, 2013

          (when the first set of KRONOS Time Detail Reports were prepared) or, from

          approximately 2010 through July 12, 2013 (when the second set of KRONOS Time

          Detail Reports were prepared), but the sets of payroll data provided to Cressman

          contained records only through January 19, 2013. Without specifically defining the

          analysis periods to be identical, the KRONOS Time Detail Report will show more hours

          “worked” than hours paid from the payroll data. It follows that Cressman’s conclusion

          that all “Unapproved Hours” are unpaid is specious. Because Cressman does not set out

          a sufficient basis for her conclusion that there are unpaid hours to the extent she reaches

          this conclusion because the payroll records do not cover the entire KRONOS time, her

          conclusion is wrong.



 20
    Ibid, ¶80. Cressman states that 176 of 215 people with “Unapproved Hours” have unpaid work hours. Thus, the
 remaining 39 of 215, according to Cressman, were compensated for their “Unapproved Hours.”
 21
    Declaration of Jonathan Frascati, Aug. 29, 2013, ¶5.


                                                     – 16 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 18 of 211 PageID #:
                                     13206


                     27.2.    The KRONOS Time Detail Report is not what is transmitted to the payroll

             department for pay.22 Adjustments can be made to the KRONOS data after the fact. The

             KRONOS Time Detail Report shows that corrections may be made at a later date to pay

             for hours which may have been worked but marked as “Unapproved Hours.” It is unclear

             whether Cressman made any adjustment for these occurrences.

                     27.3.    The Time Detail Reports for locations which transitioned to using the

             KRONOS system are incomplete during the transition period. In some instances, the

             Time Detail Entries list an in-punch but no out-punch. It is my understanding that these

             locations were using a separate system, e.g., ANSOS or another legacy system for

             timekeeping during the transition period. Analysis of these time periods would require

             looking at other sources of data in addition to the KRONOS Time Detail Reports.

            28.      A review of the KRONOS Time Detail Report and corresponding payroll data

 shows that the KRONOS Time Detail Report is not necessarily a sufficient source for the

 determination of whether “Unapproved Hours” are in fact unpaid work hours.

            29.      I performed a similar analysis as described by Cressman in which I selected

 KRONOS Time Detail data for the 337 Opt-In Plaintiffs for the same period for which I have

 PeopleSoft payroll data, to create an apples-to-apples comparison. The calculations I performed

 show that numerous Opt-In Plaintiffs with “Unapproved Hours” are paid as much or more than

 their total hours (including “Unapproved Hours”) in the KRONOS Time Detail Report data.

            30.      Any allegation of unpaid “Unapproved Hours” requires much more analysis than

 Cressman has conducted. At a minimum, it would require a detailed review of the specific

 instances of “Unapproved Hours” in the KRONOS Time Detail Report, the payroll data for the

 corresponding period, any contemporaneous time records from a legacy system, and later payroll
 22
      Declaration of Jonathan Frascati, ¶¶6-7.


                                                   – 17 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 19 of 211 PageID #:
                                     13207


 periods in which employees could have been paid retroactively to the extent they worked and

 were not paid for “Unapproved Hours.” This process would not be able to be performed using an

 automated process on a collective or class wide basis.

      E.         The Conclusion Reached in Cressman’s “Unapproved Hours” Analysis is a Non
                 Sequitur and Incorrect

                 Cressman states: “Therefore, our analysis shows an 81% confidence rate that
                 unapproved hours in the Time Details are unpaid.”23
           31.      As explained below, Cressman’s conclusory statement does not follow from the

 analysis which preceded it; it is not used in a manner that would be recognized by any expert in

 the field of statistics; and it relies upon data and analyses which are fundamentally flawed. It

 should therefore be discarded. Cressman uses the term “81% confidence rate”, but I do not know

 what she means by a “confidence rate.” I can only assume she means to suggest that some

 statistical analysis has been used to generate a testable statistical conclusion. No such statistical

 analysis has been done.

           32.      Statisticians use confidence intervals and confidence rates when discussing

 inferential statistical measures. In order to use this term and the concept properly, there are a

 number of conditions which must hold in order for the statement to be true. For example, the

 data must come from a random sample, and there must not be any correlation24 among the

 observations. In her analysis, there is no random sample and there are no standard statistical

 calculations or verification processes of those calculations (which would likewise be invalid in

 this instance due to data read-in errors on Cressman’s part). The implication that there is




 23
   Affirmation of Sarah E. Cressman, ¶81.
 24
   “Correlation” is defined as a “relation existing between …statistical variables which tend to vary, be associated, or
 occur together in a way not expected on the basis of chance alone,” www.merriam-
 webster.com/dictionary/correlation.


                                                        – 18 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 20 of 211 PageID #:
                                     13208


 statistical confidence in this conclusion is wrong because it does not meet any statistical (or

 analytical) standards.

           33.      Additionally, her analysis is in regard to the number of people who may have

 “Unapproved Hours” that are unpaid, but she concludes that there is “an 81% confidence rate

 that unapproved hours in the Time Details are unpaid.”25 It is ambiguous as to whether she is

 claiming that 81 percent of “Unapproved Hours” are unpaid or whether she is claiming that she

 is 81% sure that some unknown portion of the “Unapproved Hours” are unpaid. In either case,

 she did not show how she arrived at the 81% figure, and her analysis does not support her

 conclusion.

           34.      If her claim is that she is 81% sure that some portion of “Unapproved Hours”

 were unpaid, an 81 percent confidence rate does not meet the standard acceptable level of

 confidence of 95 percent.26 Depending on the particular analysis, I have seen confidence rates of

 90 percent that are acceptable. In my academic and professional career, I have never seen an 81

 percent confidence rate deemed acceptable.

      F.         Cressman’s Non-KRONOS Data Errors

                 Cressman states: “The non-Kronos records were produced to plaintiffs as electronic
                 .csv files which were also fed through the Stata program.”27
           35.      Cressman received the same electronic non-KRONOS data for Opt-In Plaintiffs

 that I received, but I am unable to replicate her conversion and read-in of the three electronic

 files.28 I cannot match her number of employees or determine who she excluded and for what



 25
    Affirmation of Sarah E. Cressman, ¶81.
 26
    Because Cressman’s analysis is not statistically sound, I adopt these terms loosely for discussion purposes only. It
 is my opinion that there is zero percent statistical confidence in the Cressman conclusions.
 27
    Affirmation of Sarah E. Cressman, ¶64.
 28
    The non-KRONOS data is in electronic .csv files with Bates numbers NS00158913 (ANSOS data – 395
 employees), NS00178712 (Staten Island University Hospital D-Time data – 180 employees), and NS00178716
 (Telestaff (North Shore-LIJ ambulance) data – 30 employees).


                                                         – 19 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 21 of 211 PageID #:
                                     13209


 reason,29 so I will simply use the set of 183 Opt-In Plaintiffs she lists in her Exhibits II and JJ for

 my analysis of the “non-KRONOS” data.

          36.      As with the KRONOS data, I cannot replicate the number of “meal break-

 eligible” shifts Cressman alleges individual Opt-In Plaintiffs worked in the non-Kronos data, as

 listed in Exhibit II.30

                   36.1.    For example, in Exhibit II, Cressman states that Ann Ferran (Emp. ID:

           101090) has two “meal break-eligible” shifts (column “sum_meal”). Cressman is wrong.

           The non-KRONOS timekeeping data actually shows that Ms. Ferran worked 86 “meal

           break-eligible” days31 in 69 weeks from the week ending June 26, 2004 to the week

           ending August 19, 2006.

                   36.2.    Similarly, Cressman states that Carolyn Wills (Emp. ID: 101230) has 193

           “meal break-eligible” shifts in Exhibit II. Cressman is wrong. The non-KRONOS

           timekeeping data shows that she worked 599 “meal break-eligible” days in 333 weeks

           from the week ending June 26, 2004 to the week ending December 8, 2011.

                   36.3.    Cressman also states that Bobbie Casserly (Emp. ID: 101234) has 196

           “meal break-eligible” shifts in Exhibit II. Cressman again is wrong. The non-KRONOS


 29
    Cressman states that the 3 .csv files contain 601 people; I find 605. She says she excludes 168 of 180 people from
 the Staten Island University Hospital D-Time data because they do not match the PeopleSoft list, which makes sense
 because SIUH does not use PeopleSoft, but I find only 161 of 180 people who don’t match the PeopleSoft list. She
 says she excludes 26 people from the ANSOS records because “all of their records contain incomprehensible time
 keeping codes,” but I am unsure to whom she is referring. She additionally excludes 78 people because “their time
 frame on the employee list does not match the time frame on their time record,” and 144 people who she says opted
 out or did not work at a non-KRONOS subclass location, 30 of whom I can easily identify as the employees with
 Telestaff data from North Shore-LIJ ambulance facilities. Because I cannot replicate her conversion and read-in and
 her subsequent exclusions, I will use her list of 183 Opt-In Plaintiffs from her Exhibits II and JJ. Affirmation of
 Sarah E. Cressman, footnotes 4&5.
 30
    Cressman does not indicate any date or other restrictions she placed on the non-KRONOS data in determining the
 number of “meal break-eligible” shifts. My analyses utilize the same dataset produced to Plaintiffs and uses all dates
 and all 183 Opt-In Plaintiffs listed in Exhibits II and JJ.
 31
    As with the KRONOS data, I combined multiple daily entries in the non-KRONOS data to arrive at a daily total
 of hours worked. It is unclear from the Cressman Affirmation or her analyses whether she did or did not combine
 multiple daily shifts. It is impossible to reconcile her numbers because of the numerous data errors.


                                                        – 20 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 22 of 211 PageID #:
                                     13210


             timekeeping data shows that she worked 572 “meal break-eligible” days in 297 weeks

             from June 26, 2004 to December 8, 2011.

                      36.4.   There are numerous additional errors made by Cressman regarding the

             non-KRONOS data that I have identified but have not specifically addressed in this

             declaration.

             37.      Despite considerable effort, I was unable to replicate or reconcile the differences

 between the numbers reported in Exhibit II (and Exhibit JJ) and the numbers I calculated using

 the same underlying data.

        G.         Cressman’s Non-KRONOS Data Analysis Is Incomplete and Incorrect

                   Cressman states: “Because the non-Kronos records contain no cancelled deduction
                   (CD) or similar code, like the Kronos records, to indicate when an employee’s
                   automatic deduction is cancelled and the employee is paid for a meal period,
                   plaintiffs used two different methodologies to analyze meal break cancellations in the
                   non-Kronos records.”32
             38.      In paragraphs 65 and 66, Cressman discusses two methodologies and refers to

 Exhibits JJ and JJ-1 in paragraph 65, and Exhibits II and II-1 in paragraph 66. In fact, it is clear

 that she should have referred to Exhibits II and II-1 in paragraph 65, and Exhibits JJ and JJ-1 in

 66. I will refer to these exhibits as they appear in the exhibit list, not in the text of the

 Affirmation. Exhibit II will refer to her “normal shift” analysis, and Exhibit JJ will refer to her

 “non-KRONOS using KRONOS data” analysis.

             39.      Cressman incorrectly states that there is no “cancelled deduction (CD) or similar

 code” in the ANSOS, or non-KRONOS data. Cressman is wrong. There is a code in ANSOS

 called “No Meal” that denotes compensation for a missed meal break.33 I was easily able to find

 it.


 32
      Ibid, ¶64.
 33
      Declaration of Leslie Brownwell, Jun. 13, 2011, ¶4.


                                                            – 21 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 23 of 211 PageID #:
                                     13211


         40.      As explained above, there are errors in Cressman’s read-in of the non-KRONOS

 data, which would make any analysis based on that data set unreliable. However, even if the

 underlying data set were reliable, there are also numerous analytical and methodological issues

 which further invalidate her conclusions regarding the non-KRONOS data.

         41.      Cressman’s Exhibit II is based upon Cressman’s flawed identification of a

 “normal shift length” and assumes that any shift 30 minutes longer than a “normal shift” length

 includes time added back by a manager to account for a missed or interrupted meal period.

         42.      First, Cressman defines a “normal shift” as “the most frequently occurring shift

 length.”34 This definition ignores the fact that based on the KRONOS and non-KRONOS data,

 some employees do not have regular schedules and often change their schedules over time.

         43.      If a shift is 30 minutes or longer than the “normal shift” for the particular

 individual, Cressman credits these shifts as “meal break cancellations.” Basically, she has

 assumed that if someone worked 30 minutes or more longer than their “normal shift,” then they

 worked through their meal and were paid for it. This is a construct Cressman created on her own.

 This construct is not useful because she does not know whether a meal break was missed or

 whether that additional time occurs before or after the scheduled shift. Even if it were,

 Cressman’s data is so flawed that her results are incorrect.

         44.      The following examples show 1) that Cressman’s analysis does not arrive at the

 appropriate number of shifts and potential “meal break cancellations,”35 and 2) the methodology

 arrives at spurious conclusions because it is nonsensical.

                  44.1.    For Maryann Jozkowski (Emp. ID: 103560), Cressman indicates she

          works 107 “meal break-eligible” shifts with zero “meal break cancellations.” The non-

 34
    Ibid, ¶65.
 35
    Cressman uses the phrase “meal break cancellations” to describe the number of missed meal periods she seeks to
 find through her analysis, called “sum_cd” in Exhibits II and JJ. I will also use that phrase herein.


                                                      – 22 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 24 of 211 PageID #:
                                     13212


        KRONOS data actually shows that she worked 1,215 “meal break-eligible” shifts over

        264 weeks. The most frequently occurring shift length for Ms. Jozkowsi was 7.5 hours,

        which she worked a total of 819 times. According to the methodology employed by

        Cressman, any shift one-half hour longer than 7.5 hours (eight hours or greater) should

        be credited with a “meal break cancellation.” Ms. Jozkowski worked 332 shifts of eight

        hours or longer. According to Cressman’s flawed analysis, there would be 332 “meal

        break cancellations,” not zero. However, Cressman’s methodology is nonsensical

        because of the 332 shifts 8 hours or longer, some were as long as 10 hours.

               44.2.   For Patricia Wood (Emp. ID: 103899), Cressman indicates she worked

        129 “meal break-eligible” shifts with six “meal break cancellations.” The non-KRONOS

        data actually shows her recording 722 “meal break-eligible” shifts over 319 weeks.

        According to Cressman’s construct, she would first identify Wood’s “normal shift,” that

        means the one that occurs most frequently”, However, for Wood, her most frequently

        occurring shift length is 7.5 hours, which she works 260 times. She also worked shifts

        either of 11.25 hours (149 times) or 11.5 hours (224 times) 373 times total. It is unclear

        whether under Cressman’s analysis, 11.25-11.5 hours is the most frequently occurring

        shift length because it collectively occurred in 373 shifts, or if 7.5 hours is, which

        occurred 260 times. Furthermore, assuming 7.5 hours was the “normal shift”, because it

        occurred 260 times, then Cressman would have to credit Wood for 454 “meal break

        cancellations”, that is, the number of shifts 8 hours or longer. This is nonsensical,

        because 454 purported “meal break cancellations” is more than the number of “normal

        shifts.”




                                             – 23 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 25 of 211 PageID #:
                                     13213


                44.3.   For Marie Fils-Aime (Emp. ID: 126853), Cressman indicates she worked

         25 “meal break-eligible” shifts with zero “meal break cancellations.” The non-KRONOS

         data actually show her recording 1,215 “meal break-eligible” shifts over 243 weeks. She

         also records shifts of 7.5 hours on 702 occasions, and 11.5 hours on 395 occasions. It

         appears that Ms. Fils-Aime worked two distinct schedules from time to time. For some

         stretches, she would regularly record 7.5 hours; at other times, she would regularly

         record 11.5 hours; and she would also record periods of time with varying shift lengths.

         The flawed Cressman analysis does not distinguish between these periods. Assuming

         Cressman chose 7.5 hours as Ms. Fils-Aime’s “normal shift,” she worked the shift 702

         times and would have had at least 395 “meal break cancellations.”

        45.     Second, this methodology has no analytical basis and must be rejected as an

 analytical tool. This methodology cannot distinguish between irregular shifts, additional

 compensated hours worked, or days on which employees are compensated for time worked

 during a meal by being allowed to leave early.

        46.     As an alternative to her analysis in Exhibit II, Cressman states that her Exhibit JJ

 allocates KRONOS Time Detail Record “CD” codes of the 337 Opt-In Plaintiffs to the non-

 KRONOS data for 183 Opt-In Plaintiffs with non-KRONOS data. 60 Opt-In Plaintiffs appear in

 both KRONOS and non-KRONOS data. This methodology is troubling because it 1) does not

 add any analytical value, and 2) it has no foundation. Cressman fabricates a complicated

 methodology to support her assumption that the non-KRONOS data for 183 Opt-In Plaintiffs

 would have the same “cancelled deduction” rate as the KRONOS data for 337 Opt-In Plaintiffs,

 even though the data contains different information for different Opt-In Plaintiffs for different

 periods of time.




                                               – 24 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 26 of 211 PageID #:
                                     13214


            47.      Cressman creates a frequency distribution of the KRONOS “CD” codes from the

 337 Opt-In Plaintiffs’ Time Detail Reports across the various shift lengths from her KRONOS

 Time Detail Report analysis. In other words, she counts the number of shifts of each length for

 the 337 Opt-In Plaintiffs and then counts the number of “CD” codes appearing for the same shift

 length. As noted above, the “CD” code is not the only mechanism by which employees may be

 compensated for time worked during a meal break. Furthermore, her own analysis shows that the

 usage rates of these codes differ across Work Locations.36 There is no reason to believe that

 these KRONOS codes for 337 Opt-In Plaintiffs would have any application to the non-KRONOS

 data for 183 Opt-In Plaintiffs. These two sets of data do not have all of the same people or the

 same locations or the same time. There is no basis to believe that these two are the same.

            48.      Cressman applies the “CD” code rates from the KRONOS Time Detail Reports

 for 337 Opt-In Plaintiffs to the non-KRONOS data for 183 Opt-In Plaintiffs based on the length

 of shifts she finds for the 183 Opt-In Plaintiffs who have non-KRONOS data. Cressman is

 essentially making the assumption that cancelled deductions in the Non-KRONOS data for 183

 Opt-In Plaintiffs occur at the same rate as the KRONOS data for 337 Opt-In Plaintiffs. From the

 last line in Exhibit JJ, the “cancelled deduction” rate she calculates is 2.09, whereas the rate she

 identified for the KRONOS analysis for 337 Opt-In Plaintiffs in Exhibit HH was 2.10, a

 difference of 0.5 percent. This methodology is not an analysis; it is plainly an assumption that the

 rates are going to be the same for the non-KRONOS data as the KRONOS data. It does not

 provide any independent information regarding the non-KRONOS data. There is no independent

 conclusion regarding the non-KRONOS data that can be reached using this methodology. Her

 Affirmation states no basis for why she assumes the rate for working through and being paid for



 36
      See Declaration of Joseph A. Krock, ¶¶ 58.3-58.6.


                                                          – 25 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 27 of 211 PageID #:
                                     13215


 a meal break depends on the length of the shift. She also doesn’t distinguish any of the data by

 position.

             49.      Cressman further states, “Notably, these two different methodologies yielded

 similar results.”37 The results from these two “analyses” are not, in fact, similar. Her analysis

 identifying shifts longer than “normal shift length” concludes that on average, employees

 received “cancelled deductions” 1.16 percent of “meal break-eligible” shifts. Her analysis that

 assigns the distributions of “cancelled deductions” from KRONOS to non-KRONOS data arrives

 at an average of 2.09 percent of “meal break-eligible” shifts receiving deductions.38 There is an

 80 percent difference between these numbers – 1.16 percent and 2.09 percent. When one

 considers that these analyses were performed on invalid data with flawed analytical content and

 execution, no valid conclusion can be made regarding the non-KRONOS data.

 III.        Plaintiff’s Use of 35 Selected Individual’s Interrogatory Responses to Draw
             Inferences across the Entire Class Pool Is Unsupported by Statistical Methods.

        A.         Individual Interrogatories Cannot Be Used for Statistical Analysis

                   Cressman states: “Therefore, the interrogatory responses for these 35 sample
                   discovery plaintiffs indicate that approximately 87.8% of the time they did not have a
                   30 minute, uninterrupted meal break.”39

             50.      Cressman refers to the interrogatory responses as “sample information.” They are

 not a random or representative sample. Of the 70 interrogatories served, Cressman’s application

 of the data from 35 selected interrogatory responses is inappropriate. These interrogatories are

 not designed to provide answers sufficiently precise to prove the frequency of uncompensated

 work occurring during meal periods or pre- or post-shift. Furthermore, the Opt-In and Named

 Plaintiffs who chose to answer are not a random or representative sample. Indeed, of the 70

 37
    Ibid, ¶67.
 38
    Exhibits II and JJ.
 39
    Affirmation of Sarah E. Cressman, ¶70.



                                                     – 26 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 28 of 211 PageID #:
                                     13216


 interrogatory sets served, only 35 answered. It also appears Cressman simply excluded 7 Opt-In

 Plaintiffs who did not respond to Interrogatory 10, without any explanation of the rationale or

 effect of that decision and then created a simple average of the responses of the 28 remaining

 Opt-In Plaintiffs. This set of individuals is not a random or representative sample. They self-

 selected to opt in, they self-selected to answer the interrogatories, and Cressman selected to use

 certain of their responses. The calculations performed by Cressman do not account for numerous

 factors, such as length of service or position changes that would provide accurate results. Finally,

 these respondents exaggerate other measurable responses which show that the testimony

 provided in these interrogatories may be unreliable.

                50.1. Defendants served its First Set of Interrogatories to 70 Named and Opt-In

         Plaintiffs (six Named Plaintiffs, twelve Opt-In Plaintiffs who submitted declarations on

         behalf of Plaintiffs, and 52 other Opt-In Plaintiffs). This collection of Named and Opt-In

         Plaintiffs does not constitute a random or representative sample. Furthermore, 35

         recipients of the interrogatories did not respond. The 35 individuals who signed

         responses included Named Plaintiffs, Claudia DeSilva, Gregg Lambdin, Kelly Iwasiuk,

         Eileen Bates-Bordies, Margaret Hall, and Brenda Gaines. Additionally, it includes 29

         other Opt-In Plaintiffs. The statistical results derived from a non-random sample can

         only be applied to the sample group from which the data was taken. It is against all

         statistical principals to attribute the results from a non-random sample to non-sampled

         members. No inference can be drawn with regard to the remaining Opt-In Plaintiffs or

         the Opt-In Plaintiffs who may fall into the Possible Rule 23e Class Pool (as defined

         below in Section IV) who are not listed in Exhibit Z-1.




                                               – 27 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 29 of 211 PageID #:
                                     13217


                  50.2.    Additionally, the interrogatories were not a survey instrument, but rather

          the first step in the discovery process to determine the extent of the allegations.

          Interrogatory No. 10 states:

              “Itemize each shift you worked for each of the Defendants during the relevant time
              period. (For the purpose of this document, the term “itemize” means state the
              Defendant(s) for whom you worked, the date(s) of the shift, your actual start time,
              your actual end time, and the time(s) of any and all breaks, including meal breaks,
              actually taken.)”40
          If answered completely as asked and with a high level of detail including limiting

          responses to specific time periods, this interrogatory could yield the necessary detail to

          elicit useful results. However, none of the 35 responses to the set of interrogatories are

          anywhere near sufficiently detailed to determine liability or damages for the individual

          respondent. Respondents’ responses show how the lack of a well guided survey leads to

          responses which are not precise and often do not answer the question asked.41

                  50.3.    Aside from the issues noted above, the calculations presented in

          Cressman’s Exhibit Z-1 are not performed in a way consistent with standard statistical

          practice. Cressman creates a simple average for each person and then across all 35

          respondents. At a minimum, these results, if they were valid, should have been weighted

          by the appropriate time periods noted by the respondents and weighted by the length of

          service for each person. As calculated, Cressman gives the same weight to an employee

          who works a few pay periods, e.g., Anne Mock (Emp. ID: 118687) who worked four pay

          periods, as employee who works many pay periods, e.g., Elena Rizzo (Emp. ID: 112185)

          who worked 224 pay periods. An un-weighted analysis does not provide a reliable



 40
    Plaintiff Cynthia Abram-Brown’s Responses to Defendants’ First Set of Interrogatories, January 31, 2013,
 Interrogatory No. 10.
 41
    Ibid.


                                                      – 28 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 30 of 211 PageID #:
                                     13218


           summary of the experience of a group of individuals. Cressman’s conclusions based on

           Exhibit Z-1 are incorrect.

           51.      In my prior Declaration, I discussed that people may have difficulty remembering

 details of their work weeks.42 In the interrogatories submitted as Exhibit Z to the Affirmation, I

 found many factual inconsistencies. In particular, Interrogatory No. 9 states, “Identify all

 workweeks where you worked more than 40 hours in the week during the relevant time period

 for any of the Defendants.”43 All of the respondents objected because they believe it would be

 “unduly burdensome” to recall all workweeks in which they worked more than 40 hours in a

 workweek. Furthermore, these respondents admitted that the responses were inaccurate, stating,

 “this response is based on plaintiff’s current recollection and without the benefit of reviewing

 any records maintained by defendant which may help plaintiff to respond more accurately to this

 request.”44 Each respondent then presents an estimate of the number of weeks and/or average

 hours worked during the relevant time period. When these responses are cross-referenced with

 the hours paid to these individuals, there is a large discrepancy between the estimated hours

 worked from the Interrogatory and those found in the payroll data and across the respondents.

      B.         The NDNQI Survey Is Likewise Not An Appropriate Means of Inferring
                 Information About All Employees

                 Cressman states: “Therefore, the data in the NDNQI reports indicate that
                 approximately 66% of the survey respondents did not have an uninterrupted, 30-
                 minute meal break during their last shift worked.”45



 42
    Declaration of Joseph A. Krock, ¶83-90.
 43
    Plaintiff Cynthia Abram-Brown’s Responses to Defendants’ First Set of Interrogatories, January 31, 2013,
 Interrogatory No. 9.
 44
    Ibid. Additional objections to her response to Interrogatory No. 10 further show the difficulty with creating an
 appropriate set of questions which would lead to accurate and reliable answers. She states, “Plaintiff also objects to
 this request because it is vague and ambiguous as to what defendants mean by “meal breaks, actually taken.”
 Plaintiff does not know whether defendants mean meal breaks automatically deducted from her time, or full,
 uninterrupted meal breaks where plaintiff was completely relieved of duty.”
 45
    Affirmation of Sarah E. Cressman, ¶75.


                                                         – 29 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 31 of 211 PageID #:
                                     13219


            52.      The NDNQI survey is not designed to be used as evidence about whether or not

 nurses received uninterrupted meal breaks. It is designed to be used as a management tool for

 hospitals to adjust scheduling and monitor the work environment.

            53.      This survey instrument is carried out every quarter by the American Nurses

 Association as an on-line survey for each subscribing hospital or hospital system. It is sold to

 hospitals as a tool to assist with the improvement of patient outcomes, as well as employee job

 satisfaction. The survey is not undertaken using any random sampling, nor does it report results

 with statistical inference. The results given to each hospital are a recitation of the respondent and

 is not meant to make inferences about non-respondents or other hospitals. Furthermore, these

 surveys are intended to be used at the unit level rather than at any aggregate basis. The American

 Nurses Association states:

                  “Because work environments vary greatly across units, improvement strategies
                  targeting units will likely be more effective than strategies targeting hospitals.”46
            54.      Additionally, this survey does not require respondents to answer questions

 regarding themselves. Rather, as the American Nurses Association web site states:

                  “Unit level data are the foundation of NDNQI. This unit level focus sets the NDNQI
                  RN Survey apart from many other employee surveys. Eligible RNs submit survey
                  responses as members of nursing care units or workgroups, which NDNQI aggregates
                  for unit-level Survey Reports. For the NDNQI RN Survey, participants serve as
                  reporters for their unit work environment, rather than individuals providing personal
                  perceptions.”47
 The responses given are not intended to be personal responses, and may not have any relation to

 an individual’s own experience.

            55.      For the section Cressman uses, the questionnaire only asks questions about the

 employee’s last shift. It does not give any additional information regarding other shifts worked


 46
      www nursingquality.org/ndnqirnsurvey
 47
      www nursingquality.org/ndnqirnsurvey


                                                      – 30 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 32 of 211 PageID #:
                                     13220


 by the employee, or historical information regarding past shifts worked. No conclusion should be

 reached beyond that limited time period, nor should there be an application of rates calculated

 using these data to the FLSA Opt-Ins or the Rule 23 Class.

 IV.     Possible Sub-Class Pool Sizes

         56.      Plaintiffs’ Memo of Law defines two new sub-classes as follows: “all current and

 former hourly employees of North Shore-LIJ who were subject to the approval pay policy and

 denied compensation for work performed during unpaid, automatically deducted meal periods

 and before and after their scheduled shifts because that additional time worked was not approved

 for payment by a manager or supervisor,” who:

               1) “used the Kronos timekeeping system, which was implemented system-wide

                  beginning in or about 2010;” (“KRONOS Sub-Class”) and

               2) “employees who worked at Manhasset, Southside, Huntington, Plainview, Syosset

                  or in the LIJ Nursing Departments, prior to the implementation of Kronos at those

                  locations”48 (“non-KRONOS Sub-Class”)

         57.      As explained in my Declaration, the electronic timekeeping, human resources,

 and payroll data available to both Cressman and me do not allow for the identification of

 individuals who worked through all or part of a meal period,49 and for the same reasons, I cannot

 use the electronic data to determine whether an individual worked before or after a shift without

 compensation. Therefore, I have identified the largest possible number of individuals who (1)

 use the KRONOS timekeeping system and (2) who worked at Manhasset, Southside, Huntington,

 Plainview, Syosset or in the LIJ Nursing Departments, prior to the implementation of Kronos at

 those locations ONLY, without regard to whether they might have been subject to the approval

 48
    Plaintiffs’ Memorandum of Law in Support of Their Motion for Rule 23 and FLSA Class Certification, August 2,
 2013, p. 4.
 49
    Declaration of Joseph A. Krock, ¶¶42-54.


                                                     – 31 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 33 of 211 PageID #:
                                     13221


 pay policy and denied compensation for work performed during any unpaid, automatically

 deducted meal periods and before and after their scheduled shifts because that additional time

 worked was not approved for payment by a manager or supervisor. I refer to these individuals as

 the “Possible Rule 23 Class Pool,” “Possible FSLA Collective Pool,” and the possible KRONOS

 and non-KRONOS Sub-Class Pools.

                   Possible Rule 23 Class Pool

          58.      I was able to identify 32,256 unique current and former employees who may fall

 into either possible Sub-Class Pool.

                   58.1.    I was able to identify 19,958 current or former employees who may fall

          into the possible Kronos Sub-Class Pool.

                   58.2.    I was able to identify 18,981 current or former employees who may fall

          into the possible Non-KRONOS Sub-Class Pool.

                   Possible FLSA Collective Pool

          59.      I used electronic payroll and human resources data beginning March 24, 2007 and

 through January 19, 2013, to identify 53250 Opt-In Plaintiffs who may fall into one or both of the

 possible Sub-Class Pools.

                   59.1.    I was able to identify 337 Opt-In Plaintiffs who may fall into the possible

          KRONOS Sub-Class Pool.

                   59.2.    I was able to identify 374 Opt-In Plaintiffs who may fall into the possible

          Non-KRONOS Sub-Class Pool.

                   59.3.    Given Plaintiffs’ new sub-class definitions, some FLSA Opt-In Plaintiffs

           no longer fall into one or the other possible Sub-Class Pools. I was able to identify 384


 50
   According to Plaintiffs 1,149 current and former employees filed Consents to Join. 137 are barred by the statute of
 limitations, and data is unavailable for 96, leaving 916 possible FLSA Sub-Class members.


                                                       – 32 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 34 of 211 PageID #:
                                     13222


         Opt-In Plaintiffs who I believe are excluded from the collective action because they do

         not fall into either Sub-Class Pool, including Named Plaintiffs Claudia De Silva and

         Eileen Bates-Bordies.

 V.     Overtime Hours Paid by North Shore-LIJ Health System

        60.    Using the potential sub-class pool and the appropriate statutes of limitations set

 forth by Plaintiffs, I have also calculated the total amount of overtime paid by North Shore-LIJ

 Health System. As I did in my prior declaration, I calculated the amount of overtime paid during

 pay periods in which the employees were paid overtime despite working fewer than 80 hours in a

 bi-weekly pay period (40 hours per week).

               60.1.   Given the new definition of the FLSA Collective Class sub-classes, only

         532 Opt-In Plaintiffs fall into the possible sub-class pools. I recalculated the amount of

         overtime paid for this group from March 24, 2007 through January 19, 2013. This group

         was paid a total of $10,207,679 in overtime for 163,021 hours.

               60.2.   $5,730,912 of the $10,207,679 was 93,405 hours of overtime during pay

         periods in which the 532 Opt-In Plaintiffs worked fewer than 80 hours.

               60.3.   For the Possible Rule 23 Class Pool, I calculated the amount of overtime

         paid by North Shore-LIJ Health System from June 26, 2004 through January 19, 2013.

         These 32,256 employees were paid $539,542,491 for 12,328,303 hours of overtime.

               60.4.   $246,537,208 of the$539,542,491 was 5,346,400 hours of overtime paid to

         individuals in biweekly pay periods in which the 32,256 employees worked fewer than

         80 hours.

               60.5.   I also reviewed the data for all of the North Shore-LIJ employees for

         whom I have PeopleSoft payroll data. I found that North Shore-LIJ paid 17,610,923




                                              – 33 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 35 of 211 PageID #:
                                     13223


             hours of overtime from June 26, 2004, through January 19, 2013. This totals

             $715,292,353 in overtime wages paid.

 VI.        Random Sample Survey is Not Appropriate for Rule 23 Class

            61.      I stated in my prior declaration that no feasible trial management plan exists for

 the FLSA Collective Action.51 I noted 4 issues that support my conclusion: 1) statistical analysis

 cannot project liability to non-sample Opt-In Plaintiffs; 2) a survey instrument would necessarily

 be complex, burdensome, and insufficient; 3) responses would be inaccurate and would overstate

 the number of occurrences; and 4) sampling would be unmanageably large.

            62.      The Possible Rule 23 Class Pool includes more than 30,000 individuals. I reaffirm

 my conclusions reached regarding the FLSA Collective Action, and these same conclusions hold

 for the Rule 23 Class. There is no feasible trial management plan that could determine liability or

 damages for the 32,256 members of the Possible Rule 23 Class Pool on an aggregate basis, or for

 the KRONOS Sub-Class Pool or the non-KRONOS Sub-Class Pool.

            63.      Just as with the FLSA Collective Action, statistical analysis cannot project a

 liability determination for a sample to the non-sampled class members. Liability is a yes or no

 proposition, and there is no statistical method that could reliably apply some statistical average

 amount of liability. If 50 percent of a sample is found to have worked through a meal break or

 before or after their scheduled shift while the other 50 percent has not, there is no distinguishing

 feature which would indicate who of the remaining class should be assigned liability.52

            64.      As shown above with the Interrogatory Responses, a simple survey instrument is

 insufficient to acquire enough information to determine which and how many meal breaks

 through which one employee may have worked or when and how long an employee worked


 51
      Declaration of Joseph A. Krock, ¶70-94
 52
      For a more detailed discussion, see Declaration of Joseph A. Krock, ¶71-76.


                                                         – 34 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 36 of 211 PageID #:
                                     13224


 before or after their scheduled shift. Any proposed survey form would have to solicit detailed

 information over the employee’s entire career and identify specific instances of an alleged meal

 break through which an employee worked or worked before or after her scheduled shift. It also

 would require the review of numerous time and payroll documents (if available) to potentially

 refresh memories. Furthermore, even if there was a sufficient survey form, the results of that

 survey would not result in any data which could be applied to any person other than the

 respondent.53

         65.      The interrogatory responses also highlight how poorly these employees remember

 work schedules which may or may not be recent. Throughout the interrogatory responses,

 respondents objected that it was unduly burdensome to identify and itemize each shift on a day-

 by-day level of detail.54 If their recollection regarding hours worked is so poor, it is unrealistic to

 believe that the recollections regarding the specific circumstances regarding any potentially

 missed meal period will be better. The data resulting from any sample survey will be unreliable

 and will not be able to assist with the determination of class wide liability or damages.55

         66.      Finally, if the issues noted above are set aside and sampling is to occur, any

 sampling of the possible Rule 23 Class or each possible sub-class will yield large sample sizes.

 As noted in my prior declaration, there are many combinations of Position, Work Location,

 Business Unit, and Department which all could influence if and when an employee works

 through a meal break and is not compensated. The 540 Opt-In Plaintiffs in PeopleSoft worked in

 691 different combinations of Position, Work Location, Business Unit, and Department. The

 Possible Rule 23 Class Pool works in 11,388 different combinations of these factors, including


 53
    For a more detailed discussion, see Declaration of Joseph A. Krock,, ¶77-82.
 54
    E.g. Plaintiff Cynthia Abram-Brown’s Responses to Defendants’ First Set of Interrogatories, January 31, 2013,
 Interrogatory No. 10.
 55
    For a more detailed discussion, see Declaration of Joseph A. Krock, ¶83-90.


                                                       – 35 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 37 of 211 PageID #:
                                     13225


 2,515 Job Codes, 68 Business Units, 140 Work Locations, and 1,619 Departments. The

 KRONOS Sub-Class Pool works in 8,123 different combinations of the factors, including 1,782

 Job Codes, 618 Business Units, 125 Work Locations, and 1,367 Departments. The Non-

 KRONOS Sub-Class Pool works in 7,339 different combinations of the factors, including 1,798

 Job Codes, 618 Business Units, 115 Work Locations, and 1,316 Departments. The sample sizes

 required to account for this variation would reach into the thousands of employees. Even with

 such large sample sizes, the results from this process would not be reliable and could not be

 projected to the non-sampled class members.

        67.     Any proposed trial management plan for the possible Rule 23 Class or either of

 the possible Rule 23 sub-classes will fail for the same reasons that a proposed trial management

 plan would fail for the FLSA Collective Class. With the possible Rule 23 Class and with the

 possible sub-classes, many of those same issues are exaggerated because the possible Rule 23

 Class Pool and possible sub-class pools are much larger.

 VII.   Conclusion

        68.     The analyses and conclusions contained in the Affirmation of Sarah E. Cressman

 are incorrect and invalid.

        69.     Cressman’s KRONOS and non-KRONOS analyses rely on data which do not

 accurately represent the data contained in native source documents, and she makes numerous

 read-in and conversion errors. Analyses based on invalid data are invalid.

        70.     Cressman’s KRONOS and non-KRONOS analyses are incomplete and incorrect.

 Cressman relies on a series of analyses which have no analytical or factual basis. These faulty

 analyses are also based on invalid data.




                                               – 36 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 38 of 211 PageID #:
                                     13226


        71.     Cressman’s conclusion based on her “Unapproved Hours” analysis does not

 follow from the analysis and is incorrect. Cressman does not provide enough detail in her

 Affirmation to replicate her analysis or validate her conclusion.

        72.     Cressman’s attempt to use Responses to Interrogatories to calculate a class wide

 average rate of work performed during a meal break is improper and incorrect. The responses she

 uses are not designed to be used as a scientific study. The responses are also vague and

 imprecise.

        73.     Cressman’s attempt to use the NDNQI Survey as evidence of time worked during

 meal breaks is improper and incorrect. This survey does not contain sufficient detail or ask

 relevant questions precisely enough to be used as scientific evidence regarding working during

 meal periods. Any conclusions based on the NDNQI Survey should be discarded.

        74.     Finally, for similar reasons provided in my original declaration in this matter, no

 feasible trial management plan exists for the possible Rule 23 Class, the KRONOS Sub-Class, or

 the non-KRONOS Sub-Class. Statistical analysis cannot project a determination of liability for a

 sample of class members to the non-sampled set of class members. Any survey form will be

 complex and will not produce results which may be applied to other employees. Also any

 responses to such a complex survey will be incorrect and will have the tendency to overstate the

 actual rate of violation, if any. An appropriate sample size for a class with the diversity of

 characteristics of these putative sub-classes would be extremely large. The sample size would be

 in the thousands if not tens of thousands of current and former employees. The survey process

 would be unmanageable. Any proposed trial management plan will not result in useable

 information that could lead to a class wide determination of liability.




                                                – 37 –
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 39 of 211 PageID #:
                                     13227
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 40 of 211 PageID #:
                                     13228




          DeSilva v. North Shore LIJHS

                               Exhibit 1
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 41 of 211 PageID #:
                                     13229
                                           List Of Materials Reviewed
       In addition to the Materials Reviewed Attached as Exhibit to to my Declaration dated Aug. 2, 2013, I
       reviewed:

                                                      Documents
  1. Affirmation of Sarah E. Cressman, Aug. 2, 2013, and its attached exhibits
  2. Plaintiffs’ Memorandum of Law in Support of Their Motion for Rule 23 and FLSA Class Certification,
     August 2, 2013
  3. Declaration of Leslie Brownwell , Jun. 13, 2011
  4. Declaration of Jonathan Frascati, Aug. 29, 2013


                                                 Computer Files
                                                     Timekeeping Data
  5.   ANSOS Timekeeping Data for Opt-InsPlaintiffs
  6.   KRONOS Timekeeping Data for Opt-In Plaintiffs
  7.   Staten Island D-Time Timekeeping Data for Opt-In Plaintiffs
  8.   Telestaff Timekeeping Data for Opt-In Plaintiffs
  9.   Staten Island WASP Timekeeping Data for Opt-In Plaintiffs
                                                       Payroll Data
 10.   PeopleSoft Payroll Data for Hourly Employees
 11.   Huntington Payroll Data for Hourly Employees
 12.   Genesys (Southside) Payroll Data for Hourly Employees
 13.   ADP Payroll (Hospice) Data for Hourly Employees
 14.   Infinium Payroll (Staten Island) Data for Hourly Employees
 15.   Lawson Payroll (Lenox Hill) Data for Hourly Employees
                                           Human Resources ("HR") Data
 16.   PeopleSoft HR Data for Hourly Employees
 17.   Staten Island HR Data for Opt-In Plaintiffs
 18.   Lenox Hill HR Data for Opt-In Plaintiffs
 19.   Huntington HR Data for Opt-In Plaintiffs
 20.   Hospice HR Data for Opt-In Plaintiffs




                                                      Page 1 of 1
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 42 of 211 PageID #:
                                     13230




          DeSilva v. North Shore LIJHS

                            Exhibit 2‐A
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 43 of 211 PageID #:
                                     13231

                                   DESILVA v. NORTH SHORE
                                 SUMMARY OF KRONOS DATA
                                      SEKIA BRADWELL
                            SEPTEMBER 6, 2010 ‐ NOVEMBER 30, 2011

         Page   Benefit "Meal Break‐ Non "Meal Break‐                      Total Work
        Number Shifts    Eligible" Shifts  Eligible" Shifts   Other Plus 1   Entries
           222.        0                 1                  0      1     0            2
           223.        1                 9                  0      0     0           10
           224.        1                 8                  1      0     0           10
           225.        0                 9                  0      0     0            9
           226.        3                 9                  1      0     0           13
           227.        3                 9                  1      0     0           13
           228.        1               10                   0      0     0           11
           229.        7                 7                  1      0     0           15
           230.        3                 8                  1      0     0           12
           231.        6                 8                  0      0     0           14
           232.        2                 8                  1      0     0           11
           233.        2               10                   1      0     0           13
           234.        1               10                   1      0     0           12
           235.        2               12                   0      0     0           14
           236.        0               11                   0      0     1           12
           237.        5                 9                  0      0     0           14
           238.        2                 9                  0      0     0           11
           239.        2                 8                  1      0     0           11
           240.        1               10                   0      0     0           11
           241.        3                 9                  1      1     0           14
           242.      12                  7                  0      0     1           20
           243.        6                 6                  2      0     0           14
           244.        4               10                   0      0     0           14
           245.        4                 9                  0      0     0           13
           246.        0               10                   0      0     0           10
           247.        1                 9                  1      0     0           11
           248.        2                 8                  0      0     0           10
           249.        4                 8                  1      1     0           14
           250.        0               10                   0      0     2           12
           251.        3                 5                  1      0     2           11

        TOTALS         81             256                 15      3      6         361




                                            Page 1 of 1                        The Claro Group, LLC
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 44 of 211 PageID #:
                                     13232
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 45 of 211 PageID #:
                                     13233
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 46 of 211 PageID #:
                                     13234
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 47 of 211 PageID #:
                                     13235
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 48 of 211 PageID #:
                                     13236
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 49 of 211 PageID #:
                                     13237
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 50 of 211 PageID #:
                                     13238
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 51 of 211 PageID #:
                                     13239
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 52 of 211 PageID #:
                                     13240
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 53 of 211 PageID #:
                                     13241
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 54 of 211 PageID #:
                                     13242
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 55 of 211 PageID #:
                                     13243
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 56 of 211 PageID #:
                                     13244
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 57 of 211 PageID #:
                                     13245
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 58 of 211 PageID #:
                                     13246
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 59 of 211 PageID #:
                                     13247
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 60 of 211 PageID #:
                                     13248
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 61 of 211 PageID #:
                                     13249
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 62 of 211 PageID #:
                                     13250
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 63 of 211 PageID #:
                                     13251
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 64 of 211 PageID #:
                                     13252
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 65 of 211 PageID #:
                                     13253
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 66 of 211 PageID #:
                                     13254
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 67 of 211 PageID #:
                                     13255
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 68 of 211 PageID #:
                                     13256
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 69 of 211 PageID #:
                                     13257
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 70 of 211 PageID #:
                                     13258
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 71 of 211 PageID #:
                                     13259
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 72 of 211 PageID #:
                                     13260
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 73 of 211 PageID #:
                                     13261
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 74 of 211 PageID #:
                                     13262
 Time Detail                     Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page
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Employee:           Bradwell, Sekia L                                ID:    104139        Time Zone:          Eastern
 Labor Account Summary                                    Pay Code                                            Hours                       Money              Days
(X)MANHA/10651010/10016275/100263/NA/NA/NA
                                                          gTotal PTO-Hol Shift 1                              15.00
                                                          Holiday1                                            15.00
                                                          Total Holiday                                       15.00
                                                          Total Non Productive Hrs                            15.00
                                                          xTotal Hrs Pd                                       15.00
MANHA/10651010/10016275/100263/NA/NA/NA
                                                          Absent No Pay                                       15.00
                                                          gTotal OT                                           34.25
                                                          gTotal PTO-Hol Shift 1                             302.00
                                                          gTotal PTO-Hol Shift 2                               1.25
                                                          Holiday1                                            52.50
                                                          Non Mand Education1                                  7.50
                                                          Overtime1                                           30.00
                                                          Overtime2                                            4.25
                                                          Personal1                                           53.25
                                                          Personal2                                            1.25
                                                          Regular1                                         1,882.75
                                                          Regular2                                            54.25
                                                          Regular3                                            22.50
                                                          Sick1                                                5.00
                                                          Total Education                                      7.50
                                                          Total Holiday                                       52.50
                                                          Total Non Productive Hrs                           310.75
                                                          Total OT                                            34.25
                                                          Total Personal                                      54.50
                                                          Total Regular                                    1,959.50
                                                          Total Sick                                           5.00
                                                          Total Vacation                                     191.25
                                                          Unapproved Hours                                     3.00
                                                          Vacation1                                          191.25
                                                          xTotal Hrs Pd                                    2,270.25
                                                          xTotal OT and OT OnCall Hours                       34.25
                                                          xTotal Premium OT                                   34.25




                                                                                                                                                           Page 253
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 76 of 211 PageID #:
                                     13264
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 77 of 211 PageID #:
                                     13265




          DeSilva v. North Shore LIJHS

                            Exhibit 2‐B
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 78 of 211 PageID #:
                                     13266


                                         DESILVA v. NORTH SHORE
                                     SUMMARY OF KRONOS TIME DATA
                                              ANNA BALCER
                                    JANUARY 17, 2011 ‐ FEBRUARY 7, 2013

               Page   Benefit "Meal Break‐ Non "Meal Break‐                                 Total Work
              Number Shifts Eligible" Shifts  Eligible" Shifts     Other       Plus 1         Entries
                 173.       1               9                  0           1            1             12
                 174.       3             10                   0           0            1             14
                 175.       1             10                   0           0            2             13
                 176.       1             10                   0           0            0             11
                 177.       0             10                   0           0            2             12
                 178.       0             10                   0           0            5             15
                 179.       5               9                  0           0            1             15
                 180.       0               9                  0           0            2             11
                 181.       2               8                  1           0            0             11
                 182.       1             11                   0           0            0             12
                 183.       6               9                  0           0            1             16
                 184.       3             10                   0           0            0             13
                 185.       1               9                  0           0            0             10
                 186.       1               8                  1           0            1             11
                 187.       2             12                   0           0            1             15
                 188.       2             12                   0           0            1             15
                 189.       0               7                  0           0            5             12
                 190.       3             12                   0           0            2             17
                 191.       1               6                  0           0            5             12
                 192.       3             13                   0           0            1             17
                 193.       1             11                   1           0            2             15
                 194.       2               8                  0           0            4             14
                 195.       1             10                   0           0            2             13
                 196.       1             12                   0           0            2             15
                 197.       4               9                  1           0            2             16
                 198.       0             12                   0           0            3             15
                 199.       0             10                   0           0            4             14
                 200.       2             13                   0           0            1             16
                 201.       2             12                   0           0            1             15
                 202.       3             12                   1           0            1             17
                 203.       3               8                  0           0            6             17
                 204.       1               9                  1           0            4             15
                 205.       1               9                  0           0            4             14
                 206.       2               9                  0           0            4             15
                 207.       0             10                   0           0            4             14
                 208.       2               8                  0           0            3             13
                 209.       9               8                  0           0            4             21
                 210.       3             11                   0           0            2             16
                 211.       3             13                   0           0            0             16
                 212.       2               8                  1           0            2             13
                 213.       1               7                  0           0            6             14
                 214.       4             11                   0           0            2             17
                 215.       5             10                   0           0            2             17
                 216.       1               7                  0           0            3             11
                 217.       2               7                  0           0            4             13
                 218.       0               9                  0           0            4             13
                 219.       0               1                  0           1            0              2

              TOTALS        91            448                  7           2      107               655




                                                 Page 1 of 1                                               The Claro Group, LLC
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 79 of 211 PageID #:
                                     13267
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 80 of 211 PageID #:
                                     13268
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 81 of 211 PageID #:
                                     13269
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 82 of 211 PageID #:
                                     13270
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 83 of 211 PageID #:
                                     13271
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 84 of 211 PageID #:
                                     13272
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 85 of 211 PageID #:
                                     13273
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 86 of 211 PageID #:
                                     13274
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 87 of 211 PageID #:
                                     13275
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 88 of 211 PageID #:
                                     13276
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 89 of 211 PageID #:
                                     13277
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 90 of 211 PageID #:
                                     13278
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 91 of 211 PageID #:
                                     13279
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 92 of 211 PageID #:
                                     13280
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 93 of 211 PageID #:
                                     13281
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 94 of 211 PageID #:
                                     13282
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 95 of 211 PageID #:
                                     13283
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 96 of 211 PageID #:
                                     13284
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 97 of 211 PageID #:
                                     13285
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 98 of 211 PageID #:
                                     13286
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 99 of 211 PageID #:
                                     13287
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 100 of 211 PageID #:
                                     13288
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 101 of 211 PageID #:
                                     13289
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 102 of 211 PageID #:
                                     13290
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 103 of 211 PageID #:
                                     13291
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 104 of 211 PageID #:
                                     13292
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 105 of 211 PageID #:
                                     13293
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 106 of 211 PageID #:
                                     13294
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 107 of 211 PageID #:
                                     13295
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 108 of 211 PageID #:
                                     13296
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 109 of 211 PageID #:
                                     13297
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 110 of 211 PageID #:
                                     13298
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 111 of 211 PageID #:
                                     13299
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 112 of 211 PageID #:
                                     13300
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 113 of 211 PageID #:
                                     13301
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 114 of 211 PageID #:
                                     13302
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 115 of 211 PageID #:
                                     13303
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 116 of 211 PageID #:
                                     13304
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 117 of 211 PageID #:
                                     13305
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 118 of 211 PageID #:
                                     13306
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 119 of 211 PageID #:
                                     13307
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 120 of 211 PageID #:
                                     13308
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 121 of 211 PageID #:
                                     13309
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 122 of 211 PageID #:
                                     13310
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 123 of 211 PageID #:
                                     13311
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 124 of 211 PageID #:
                                     13312
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 125 of 211 PageID #:
                                     13313
 Time Detail                    Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page
                                                                                               Data Up to Date:
                                                                                               126 of 211 PageID2/7/2013
                                                                                                                            2/7/2013 4:30:30 PM
                                                                                                                  #: 4:51:39 PM
 Time Period:       1/01/2010   - 2/07/2013                                                Executed on:
                                                                     13314                 Printed for:         gtorrillo
 Query:             Rob Mclaughlin Emps 02072013
 Actual/Adjusted:   Show hours credited to this period only.                                   Insert Page Break After Each Employee:                Yes

Employee:           Balcer, Anna                               ID:   143535       Time Zone:          Eastern
 Labor Account Summary                        Pay Code                                                Hours                       Money             Days
(X)FPPMN/20633070/10021983/103520/NA/15072/NA
                                              Overtime1                                               36.00
                                              Total OT                                                36.00
                                              Total OT and OT OnCall Hours                            36.00
                                              Total Premium OT                                        36.00
(X)FPPMN/20633070/10021983/103520/NA/15072/OVERRIDE
                                              Overtime1                                               78.35
                                              Overtime2                                                4.00
                                              Total OT                                                82.35
                                              Total OT and OT OnCall Hours                            82.35
                                              Total Premium OT                                        82.35
MANHA/10653030/10021983/103520/NA/NA/NA
                                              Bereavement1                                            22.50
                                              Holiday1                                               127.50
                                              Overtime1                                               79.50
                                              Personal1                                              100.00
                                              Regular1                                             3,380.50
                                              Sick1                                                   81.50
                                              Total Bereavement                                       22.50
                                              Total Holiday                                          127.50
                                              Total Non Reg Hrs                                      646.50
                                              Total OT                                                79.50
                                              Total OT and OT OnCall Hours                            79.50
                                              Total Other Shift 1                                     22.50
                                              Total Personal                                         100.00
                                              Total Premium OT                                        79.50
                                              Total PTO-Hol Shift 1                                  624.00
                                              Total Regular                                        3,380.50
                                              Total Sick                                              81.50
                                              Total Vacation                                         315.00
                                              Unapproved Hours                                         1.00
                                              Vacation1                                              315.00
                                              xTotal Hrs Pd                                        4,027.00




                                                                                                                                                  Page 220
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 127 of 211 PageID #:
                                     13315
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 128 of 211 PageID #:
                                     13316




          DeSilva v. North Shore LIJHS

                             Exhibit 2‐C
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 129 of 211 PageID #:
                                     13317

                                  DESILVA v. NORTH SHORE
                              SUMMARY OF KRONOS TIME DATA
                                       CRYSTAL MINGO
                              APRIL 11, 2011 ‐ FEBRUARY 6, 2013

          Page   Benefit "Meal Break‐ Non "Meal Break‐                   Total Work
         Number Shifts Eligible" Shifts  Eligible" Shifts   Other Plus 1   Entries
           2079.       0             10                   1     3      0           14
           2080.       0             11                   0     0      0           11
           2081.       2             11                   0     0      3           16
           2082.       1             11                   0     0      3           15
           2083.       0               9                  0     0      3           12
           2084.       1             10                   0     0      3           14
           2085.       0             11                   0     0      3           14
           2086.       0             12                   0     0      2           14
           2087.       1             10                   0     0      5           16
           2088.       1             11                   0     1      2           15
           2089.       1               9                  0     1      4           15
           2090.       2               9                  0     0      3           14
           2091.      14               5                  0     4      1           24
           2092.       1             13                   0     0      1           15
           2093.       0             12                   0     0      2           14
           2094.       1             12                   0     0      3           16
           2095.       0             12                   0     0      3           15
           2096.       2             12                   0     0      3           17
           2097.       0             16                   0     0      0           16
           2098.       2             15                   0     0      0           17
           2099.       5               9                  0     0      2           16
           2100.       0               7                  0     0      5           12
           2101.       1               7                  0     0      5           13
           2102.       0             12                   0     0      1           13
           2103.       1               9                  0     0      3           13
           2104.       1               9                  0     0      3           13
           2105.      10               9                  0     0      1           20
           2106.       3               8                  0     0      4           15
           2107.       0               9                  0     0      3           12
           2108.       3             13                   0     0      0           16
           2109.       1               8                  0     2      3           14
           2110.       0               9                  0     0      4           13
           2111.       3               7                  0     0      5           15
           2112.       1             10                   1     0      1           13
           2113.       0             14                   0     0      0           14
           2114.       1               8                  0     0      2           11

        TOTALS         59             369                 2       11   86        527




                                            Page 1 of 1                       The Claro Group, LLC
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 130 of 211 PageID #:
                                     13318
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 131 of 211 PageID #:
                                     13319
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 132 of 211 PageID #:
                                     13320
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 133 of 211 PageID #:
                                     13321
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 134 of 211 PageID #:
                                     13322
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 135 of 211 PageID #:
                                     13323
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 136 of 211 PageID #:
                                     13324
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 137 of 211 PageID #:
                                     13325
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 138 of 211 PageID #:
                                     13326
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 139 of 211 PageID #:
                                     13327
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 140 of 211 PageID #:
                                     13328
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 141 of 211 PageID #:
                                     13329
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 142 of 211 PageID #:
                                     13330
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 143 of 211 PageID #:
                                     13331
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 144 of 211 PageID #:
                                     13332
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 145 of 211 PageID #:
                                     13333
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 146 of 211 PageID #:
                                     13334
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 147 of 211 PageID #:
                                     13335
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 148 of 211 PageID #:
                                     13336
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 149 of 211 PageID #:
                                     13337
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 150 of 211 PageID #:
                                     13338
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 151 of 211 PageID #:
                                     13339
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 152 of 211 PageID #:
                                     13340
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 153 of 211 PageID #:
                                     13341
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 154 of 211 PageID #:
                                     13342
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 155 of 211 PageID #:
                                     13343
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 156 of 211 PageID #:
                                     13344
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 157 of 211 PageID #:
                                     13345
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 158 of 211 PageID #:
                                     13346
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 159 of 211 PageID #:
                                     13347
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 160 of 211 PageID #:
                                     13348
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 161 of 211 PageID #:
                                     13349
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 162 of 211 PageID #:
                                     13350
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 163 of 211 PageID #:
                                     13351
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 164 of 211 PageID #:
                                     13352
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 165 of 211 PageID #:
                                     13353
 Time Detail                    Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page
                                                                                               Data Up to Date:
                                                                                               166 of 211 PageID2/7/2013
                                                                                                                            2/7/2013 4:30:30 PM
                                                                                                                  #: 4:51:39 PM
 Time Period:       1/01/2010   - 2/07/2013                                                Executed on:
                                                                     13354                 Printed for:         gtorrillo
 Query:             Rob Mclaughlin Emps 02072013
 Actual/Adjusted:   Show hours credited to this period only.                                   Insert Page Break After Each Employee:                 Yes

Job Summary                                             Pay Code                                      Hours                       Money              Days
LPN                  NSLIJ/CECRR/PCS/NSG/1NE
                                                         Holiday Worked2                               0.50
                                                         Overtime2                                     1.25
                                                         Regular2                                    102.75
                                                         Total Holiday OT                              0.50
                                                         Total OT                                      1.25
                                                         Total OT and OT OnCall Hours                  1.25
                                                         Total Other Shift 2                           0.50
                                                         Total Premium OT                              1.25
                                                         Total Regular                               102.75
                                                         xTotal Hrs Pd                               103.25
NAST                 NSLIJ/CECRR/PCS/NSG/1NE
                                                         Regular2                                      7.50
                                                         Total Regular                                 7.50
                                                         xTotal Hrs Pd                                 7.50
LPN                  NSLIJ/CECRR/PCS/NSG/1NW
                                            Overtime2                                                  0.75
                                            Regular2                                                  60.00
                                            Total OT                                                   0.75
                                            Total OT and OT OnCall Hours                               0.75
                                            Total Premium OT                                           0.75
                                            Total Regular                                             60.00
                                            xTotal Hrs Pd                                             60.00
LPN                  NSLIJ/CECRR/PCS/NSG/1SE
                                                         Overtime3                                     0.50
                                                         Regular2                                     45.25
                                                         Regular3                                      3.50
                                                         Total OT                                      0.50
                                                         Total OT and OT OnCall Hours                  0.50
                                                         Total Premium OT                              0.50
                                                         Total Regular                                48.75
                                                         xTotal Hrs Pd                                48.75
LPN                  NSLIJ/CECRR/PCS/NSG/1SW
                                                         Overtime2                                     0.75
                                                         Regular2                                     52.50
                                                         Regular3                                      3.50
                                                         Total OT                                      0.75
                                                         Total OT and OT OnCall Hours                  0.75
                                                         Total Premium OT                              0.75
                                                         Total Regular                                56.00
                                                         xTotal Hrs Pd                                56.00


                                                                                                                                                  Page 2115
 Time Detail                  Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page  167 of 211 PageID2/7/2013
                                                                                                                #: 4:51:39 PM
Time Period:       1/01/2010 - 2/07/2013                                                 Executed on:
                                                                   13355                 Printed for:         gtorrillo
Query:             Rob Mclaughlin Emps 02072013
Actual/Adjusted:   Show hours credited to this period only.                                  Insert Page Break After Each Employee:       Yes

LPN                 NSLIJ/CECRR/PCS/NSG/2NE
                                                        Overtime1                                    4.25
                                                        Overtime2                                   19.00
                                                        Regular1                                     3.50
                                                        Regular2                                   211.00
                                                        Total OT                                    23.25
                                                        Total OT and OT OnCall Hours                23.25
                                                        Total Premium OT                            23.25
                                                        Total Regular                              214.50
                                                        xTotal Hrs Pd                              214.50
NAST                NSLIJ/CECRR/PCS/NSG/2NE
                                                        Regular2                                     7.50
                                                        Total Regular                                7.50
                                                        xTotal Hrs Pd                                7.50
LPN                 NSLIJ/CECRR/PCS/NSG/2NW
                                           Overtime2                                                 0.25
                                           Regular2                                                 23.00
                                           Total OT                                                  0.25
                                           Total OT and OT OnCall Hours                              0.25
                                           Total Premium OT                                          0.25
                                           Total Regular                                            23.00
                                           xTotal Hrs Pd                                            23.00
LPN                 NSLIJ/CECRR/PCS/NSG/2SE
                                                        Absent No Pay                               32.50
                                                        Adj Overtime3                                0.50
                                                        Adj Sick Day2                               15.00
                                                        Adj Vacation2                              -15.00
                                                        Bereavement1                                22.50
                                                        Holiday Worked OT3                           7.00
                                                        Holiday Worked2                             50.00
                                                        Holiday2                                    90.00
                                                        In Charge                                   72.00
                                                        Leave of Absence                             7.50
                                                        LOA Sick2                                   33.25
                                                        Orientation System1                          7.50
                                                        Orientation To Unit1                        52.50
                                                        Orientation To Unit2                        67.50
                                                        Overtime1                                   23.00
                                                        Overtime2                                   86.25
                                                        Overtime3                                   48.00
                                                        Personal2                                   15.00
                                                        Regular1                                    24.25
                                                        Regular2                                 1,997.00

                                                                                                                                      Page 2116
 Time Detail                  Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page  168 of 211 PageID2/7/2013
                                                                                                                #: 4:51:39 PM
Time Period:       1/01/2010 - 2/07/2013                                                 Executed on:
                                                                   13356                 Printed for:         gtorrillo
Query:             Rob Mclaughlin Emps 02072013
Actual/Adjusted:   Show hours credited to this period only.                                  Insert Page Break After Each Employee:       Yes

LPN                 NSLIJ/CECRR/PCS/NSG/2SE
                                                        Regular3                                    23.00
                                                        Sick2                                       60.00
                                                        Sleep Time                                   6.50
                                                        Total Adjustments                            0.50
                                                        Total Bereavement                           22.50
                                                        Total Holiday                               90.00
                                                        Total Holiday OT                            57.00
                                                        Total LOA                                    7.50
                                                        Total LOA for LOA Hours Genie               33.25
                                                        Total Non Reg Hrs                          603.25
                                                        Total Oncall In Chrg Addl Cov               72.00
                                                        Total Orientation to System                  7.50
                                                        Total Orientation to Unit                  120.00
                                                        Total OT                                   164.25
                                                        Total OT and OT OnCall Hours               164.25
                                                        Total Other Shift 1                         82.50
                                                        Total Other Shift 2                        117.50
                                                        Total Personal                              15.00
                                                        Total Premium OT                           157.75
                                                        Total PTO-Hol Shift 1                        7.50
                                                        Total PTO-Hol Shift 2                      412.50
                                                        Total Regular                            2,044.25
                                                        Total Sick                                  75.00
                                                        Total UnPaid Hrs                            15.00
                                                        Total Vacation                             240.00
                                                        Vacation1                                    7.50
                                                        Vacation2                                  247.50
                                                        xTotal Hrs Pd                            2,697.50
NAST                NSLIJ/CECRR/PCS/NSG/2SE
                                                        Overtime3                                    6.50
                                                        Regular3                                     0.50
                                                        Total OT                                     6.50
                                                        Total OT and OT OnCall Hours                 6.50
                                                        Total Premium OT                             6.50
                                                        Total Regular                                0.50
                                                        xTotal Hrs Pd                                0.50
LPN                 NSLIJ/CECRR/PCS/NSG/2SW
                                                        Overtime2                                    0.25
                                                        Regular2                                    24.00
                                                        Total OT                                     0.25
                                                        Total OT and OT OnCall Hours                 0.25
                                                        Total Premium OT                             0.25
                                                        Total Regular                               24.00
                                                                                                                                      Page 2117
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 169 of 211 PageID #:
                                     13357
 Time Detail                   Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page  170 of 211 PageID2/7/2013
                                                                                                                 #: 4:51:39 PM
 Time Period:       1/01/2010 - 2/07/2013                                                 Executed on:
                                                                    13358                 Printed for:         gtorrillo
 Query:             Rob Mclaughlin Emps 02072013
 Actual/Adjusted:   Show hours credited to this period only.                                  Insert Page Break After Each Employee:         Yes

 Labor Account Summary                                   Pay Code                                   Hours                        Money      Days
(X)CECRR/14613250/10044930/100612/NA/NA/NA
                                                         Overtime2                                    0.25
                                                         Regular2                                    24.00
                                                         Total OT                                     0.25
                                                         Total OT and OT OnCall Hours                 0.25
                                                         Total Premium OT                             0.25
                                                         Total Regular                               24.00
                                                         xTotal Hrs Pd                               24.00
(X)CECRR/14613260/10044930/100612/NA/NA/NA
                                                         Overtime2                                    0.25
                                                         Regular2                                    23.00
                                                         Total OT                                     0.25
                                                         Total OT and OT OnCall Hours                 0.25
                                                         Total Premium OT                             0.25
                                                         Total Regular                               23.00
                                                         xTotal Hrs Pd                               23.00
(X)CECRR/14613270/10044930/100612/NA/NA/NA
                                                         Holiday Worked2                              0.50
                                                         Overtime2                                    1.25
                                                         Regular2                                   110.25
                                                         Total Holiday OT                             0.50
                                                         Total OT                                     1.25
                                                         Total OT and OT OnCall Hours                 1.25
                                                         Total Other Shift 2                          0.50
                                                         Total Premium OT                             1.25
                                                         Total Regular                              110.25
                                                         xTotal Hrs Pd                              110.75
(X)CECRR/14613280/10044930/100612/NA/NA/NA
                                                         Overtime3                                    0.50
                                                         Regular2                                    45.25
                                                         Regular3                                     3.50
                                                         Total OT                                     0.50
                                                         Total OT and OT OnCall Hours                 0.50
                                                         Total Premium OT                             0.50
                                                         Total Regular                               48.75
                                                         xTotal Hrs Pd                               48.75
(X)CECRR/14613290/10044930/100612/NA/NA/NA
                                                         Overtime2                                    0.75
                                                         Regular2                                    52.50

                                                                                                                                         Page 2119
 Time Detail                   Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page  171 of 211 PageID2/7/2013
                                                                                                                 #: 4:51:39 PM
 Time Period:       1/01/2010 - 2/07/2013                                                 Executed on:
                                                                    13359                 Printed for:         gtorrillo
 Query:             Rob Mclaughlin Emps 02072013
 Actual/Adjusted:   Show hours credited to this period only.                                  Insert Page Break After Each Employee:       Yes

                                                         Regular3                                     3.50
                                                         Total OT                                     0.75
                                                         Total OT and OT OnCall Hours                 0.75
                                                         Total Premium OT                             0.75
                                                         Total Regular                               56.00
                                                         xTotal Hrs Pd                               56.00
(X)CECRR/14613300/10044930/100612/NA/NA/NA
                                                         Overtime2                                    0.75
                                                         Regular2                                    60.00
                                                         Total OT                                     0.75
                                                         Total OT and OT OnCall Hours                 0.75
                                                         Total Premium OT                             0.75
                                                         Total Regular                               60.00
                                                         xTotal Hrs Pd                               60.00
(X)CECRR/14613310/10044930/100612/NA/NA/NA
                                                         Overtime1                                    4.25
                                                         Overtime2                                   19.00
                                                         Regular1                                     3.50
                                                         Regular2                                   218.50
                                                         Total OT                                    23.25
                                                         Total OT and OT OnCall Hours                23.25
                                                         Total Premium OT                            23.25
                                                         Total Regular                              222.00
                                                         xTotal Hrs Pd                              222.00
CECRR/14613320/10044930/100612/NA/NA/NA
                                                         Absent No Pay                               32.50
                                                         Adj Overtime3                                0.50
                                                         Adj Sick Day2                               15.00
                                                         Adj Vacation2                              -15.00
                                                         Bereavement1                                22.50
                                                         Holiday Worked OT3                           7.00
                                                         Holiday Worked2                             50.00
                                                         Holiday2                                    90.00
                                                         In Charge                                   72.00
                                                         Leave of Absence                             7.50
                                                         LOA Sick2                                   33.25
                                                         Orientation System1                          7.50
                                                         Orientation To Unit1                        52.50
                                                         Orientation To Unit2                        67.50
                                                         Overtime1                                   23.00
                                                                                                                                       Page 2120
Time Detail                   Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page  172 of 211 PageID2/7/2013
                                                                                                                #: 4:51:39 PM
Time Period:       1/01/2010 - 2/07/2013                                                 Executed on:
                                                                   13360                 Printed for:         gtorrillo
Query:             Rob Mclaughlin Emps 02072013
Actual/Adjusted:   Show hours credited to this period only.                                  Insert Page Break After Each Employee:       Yes

                                                        Overtime2                                   86.25
                                                        Overtime3                                   54.50
                                                        Personal2                                   15.00
                                                        Regular1                                    24.25
                                                        Regular2                                 1,997.00
                                                        Regular3                                    23.50
                                                        Sick2                                       60.00
                                                        Sleep Time                                   6.50
                                                        Total Adjustments                            0.50
                                                        Total Bereavement                           22.50
                                                        Total Holiday                               90.00
                                                        Total Holiday OT                            57.00
                                                        Total LOA                                    7.50
                                                        Total LOA for LOA Hours Genie               33.25
                                                        Total Non Reg Hrs                          603.25
                                                        Total Oncall In Chrg Addl Cov               72.00
                                                        Total Orientation to System                  7.50
                                                        Total Orientation to Unit                  120.00
                                                        Total OT                                   170.75
                                                        Total OT and OT OnCall Hours               170.75
                                                        Total Other Shift 1                         82.50
                                                        Total Other Shift 2                        117.50
                                                        Total Personal                              15.00
                                                        Total Premium OT                           164.25
                                                        Total PTO-Hol Shift 1                        7.50
                                                        Total PTO-Hol Shift 2                      412.50
                                                        Total Regular                            2,044.75
                                                        Total Sick                                  75.00
                                                        Total UnPaid Hrs                            15.00
                                                        Total Vacation                             240.00
                                                        Vacation1                                    7.50
                                                        Vacation2                                  247.50
                                                        xTotal Hrs Pd                            2,698.00




                                                                                                                                      Page 2121
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 173 of 211 PageID #:
                                     13361
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 174 of 211 PageID #:
                                     13362
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 175 of 211 PageID #:
                                     13363




          DeSilva v. North Shore LIJHS

                             Exhibit 2‐D
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 176 of 211 PageID #:
                                     13364

                                  DESILVA v. NORTH SHORE
                               SUMMARY OF KRONOS TIME DATA
                                   MAGDALENA PUPIALES
                              OCTOBER 3, 2011 ‐ FEBRUARY 7, 2013


       Page Benefit "Meal Break‐ Non "Meal Break‐                                    Total Work
      Number Shifts Eligible" Shifts  Eligible" Shifts      Other       Plus 1         Entries
        2424.      2              10                   1            0            0             13
        2425.      0              13                   0            5            0             18
        2426.      0              13                   0            0            0             13
        2427.      1              16                   0            0            0             17
        2428.      6                9                  0            0            0             15
        2429.      1                8                  0            0            0              9
        2430.      0                9                  0            0            0              9
        2431.      1                8                  1            0            0             10
        2432.      1                9                  0            0            0             10
        2433.      0              10                   0            0            0             10
        2434.      0                9                  0            0            0              9
        2435.      2              11                   0            0            0             13
        2436.      0              10                   0            0            0             10
        2437.      5                9                  0            0            0             14
        2438.      3                9                  0            0            0             12
        2439.      1              12                   0            0            0             13
        2440.      8                7                  1            0            0             16
        2441.      0              10                   0            0            0             10
        2442.      1                9                  0            0            0             10
        2443.      2              10                   0            0            0             12
        2444.      3              10                   0            0            0             13
        2445.      0              11                   0            0            0             11
        2446.      1              10                   0            0            0             11
        2447.      0              10                   0            0            0             10
        2448.      3              10                   1            0            0             14
        2449.      1                9                  0            0            1             11
        2450.      0              10                   0            0            0             10
        2451.      3                9                  0            0            0             12
        2452.      4                7                  1            0            0             12
        2453.      1                9                  0            1            0             11
        2454.      1              10                   0            0            0             11

     TOTALS        51            306                    5           6            1           369




                                          Page 1 of 1                                The Claro Group, LLC
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 177 of 211 PageID #:
                                     13365
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 178 of 211 PageID #:
                                     13366
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 179 of 211 PageID #:
                                     13367
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 180 of 211 PageID #:
                                     13368
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 181 of 211 PageID #:
                                     13369
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 182 of 211 PageID #:
                                     13370
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 183 of 211 PageID #:
                                     13371
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 184 of 211 PageID #:
                                     13372
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 185 of 211 PageID #:
                                     13373
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 186 of 211 PageID #:
                                     13374
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 187 of 211 PageID #:
                                     13375
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 188 of 211 PageID #:
                                     13376
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 189 of 211 PageID #:
                                     13377
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 190 of 211 PageID #:
                                     13378
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 191 of 211 PageID #:
                                     13379
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 192 of 211 PageID #:
                                     13380
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 193 of 211 PageID #:
                                     13381
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 194 of 211 PageID #:
                                     13382
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 195 of 211 PageID #:
                                     13383
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 196 of 211 PageID #:
                                     13384
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 197 of 211 PageID #:
                                     13385
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 198 of 211 PageID #:
                                     13386
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 199 of 211 PageID #:
                                     13387
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 200 of 211 PageID #:
                                     13388
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 201 of 211 PageID #:
                                     13389
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 202 of 211 PageID #:
                                     13390
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 203 of 211 PageID #:
                                     13391
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 204 of 211 PageID #:
                                     13392
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 205 of 211 PageID #:
                                     13393
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 206 of 211 PageID #:
                                     13394
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 207 of 211 PageID #:
                                     13395
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 208 of 211 PageID #:
                                     13396
 Time Detail                   Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page  209 of 211 PageID2/7/2013
                                                                                                                 #: 4:51:39 PM
 Time Period:       1/01/2010 - 2/07/2013                                                 Executed on:
                                                                    13397                 Printed for:         gtorrillo
 Query:             Rob Mclaughlin Emps 02072013
 Actual/Adjusted:   Show hours credited to this period only.                                  Insert Page Break After Each Employee:         Yes

Labor Account Summary                                    Pay Code                                   Hours                        Money      Days
MANHA/10665250/10029270/101861/NA/NA/NA
                                                         Adj Mandatory Education1                    -5.00
                                                         Adj Regular1                                15.00
                                                         Adj Vacation1                              -10.00
                                                         Business Conf Day1                          75.00
                                                         Holiday1                                    67.50
                                                         Mand. Education 1                            5.00
                                                         Overtime1                                  329.75
                                                         Overtime2                                    5.00
                                                         Personal1                                   41.25
                                                         Regular1                                 1,957.25
                                                         Sick1                                        7.50
                                                         Total Education                             79.00
                                                         Total Holiday                               67.50
                                                         Total Non Reg Hrs                          367.75
                                                         Total OT                                   334.75
                                                         Total OT and OT OnCall Hours               334.75
                                                         Total Other Shift 1                         84.00
                                                         Total Personal                              41.25
                                                         Total Premium OT                           334.75
                                                         Total PTO-Hol Shift 1                      283.75
                                                         Total Regular                            1,972.25
                                                         Total Sick                                   7.50
                                                         Total Vacation                             157.50
                                                         Training Day1                                4.00
                                                         Vacation1                                  167.50
                                                         xTotal Hrs Pd                            2,325.00
MANHA/10665250/10038476/101861/NA/NA/NA
                                                         Adj Personal1                               -2.00
                                                         Adj Regular1                                 2.00
                                                         Holiday1                                    22.50
                                                         Overtime1                                   59.75
                                                         Personal1                                    2.00
                                                         Regular1                                   271.25
                                                         Sick1                                       15.00
                                                         Total Holiday                               22.50
                                                         Total Non Reg Hrs                           62.00
                                                         Total OT                                    59.75
                                                         Total OT and OT OnCall Hours                59.75
                                                                                                                                         Page 2456
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 210 of 211 PageID #:
                                     13398
Case 2:10-cv-01341-PKC-SIL Document 390-4 Filed 10/14/13 Page 211 of 211 PageID #:
                                     13399
